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                    llnul:1 ntN'l]i-t -tr-it lJ) (x)5t 1ty9:l);r-tr:r,,-t)'ttl.l n]]n nn)t)) ll)p));;'l'tr:!n tllntt
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                   o)lNlnnn l)VJynt ,lvJy-nlttNn Dlur)xn ull:'lDNn ctfltl ,-llnNn -i),lnf j),,)n DyJN)n
                   l)n tuN 1n>:n ):: D)tt DrnllN )u nnrn) n:rr:: crrr) -p)t,-tv/y-iryttNn o]u)Nn utgl
                   Nf']n -"lvrN,lN-ID-l l)yu rtr-)y otin: y!ltur'-l);"]n ilNf.J-f .tnftpf l )r) tln-tl ny nntNl
                   )N" ntllnn) D)N'y -rnnll p-TNJ gN]tj o\:rN);'r 'r'-)) ttnNt yl))!n yr:t: lr]:) ),,:n olpn)
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                  slflutN.rrinn,tt) ltn-lt rl1t)n:)l:n:t g,)t1f -i.ill: )l!,1sry-ityllNn Dtv.,)Nn u-l!l
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                iXttr': )U')u,N1 'tnlVJ ,(','ulNlJ:X";UttIi'\,'.rr)-)t -):nN'l Dt'Nt: rp)l olN,y DN-l-i
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                    lnnN.fl))v,]l)) -ilxnDn )-lnEn nycil l-tt:: t)t t:li7t'rDflN)t lu,p)t olN,y pN-ltt
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               According to the inlormation received from the lsraeli,Authorities,                             national Committee ol the

               Red Cross certifies lhat:
                             MOIIAMMAD        SAMI lBRAIIIM ABDAI IAI.I
               MrlMrs.
                                                                                             Redacted
               From       I]I IR NABALA/RAMALLAI-I                            lD NO     :-              9954

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               Was arrested by the lsraeli Authorities on Day:
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                                                                                             Month:                     Y"urt ?ooZ
               He,/Slre is to date: ,Awaiting Trial n                    Sentenced 3              Administrative I
                                                                            LIFt S[NT[:NC[
               Length of senlence / administralive period

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                    Exhibit 180
                             Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 19 of 115




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Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 34 of 115




                    Exhibir 181
Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 35 of 115




       CONFIDENTIAL                                                        SHATSKY-JD01256-T

                        Chonge of prisoner's nome

                               [English:] TO WHOM lT MAY CONCERN

                                                                           No. 04148

                                                                           2817

       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT. MOUNIR FARID MOUNIR RAJABI

       FrOM: EST JERUSALEM ID NO. R"dACt"d927{

       Was arrested by the lsraeli Authorities on (dd/mm/yyyyl: 17/03/2003

       He/She is to date: Sentenced                               foreor increment
       Length of sentence / administrative period: Life sentence

       He/She was released on (dd/mm/yyyy): xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

       (Tick the box and underline the correct designation)

                              [Arabic:I TO WHOM IT MAY CONCERN 450403




       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT. MOUNIR FARID MOUNIR RAJABI

       Fromr JERUSALEM lD No. R"du"t"d967-1

                                                    I Month:..1Qf year: 2003
       Was arrested by the lsraeli Authorities on Day:

       He/She is to date: Awaiting Trial ! Sentenced I Administrative E

       length of sentence / administrative period: Life sentence

       He/She was released on Day:       xxxx        Month: . xxxx         year:          xxxx

       Dater   09.03.2006                                [Signature]
       Place: J                                           RAFFAELLA DIANA
                              CERTIFIED UPDATE
                                   07.07.2073             ICRC Delegate
                          lnternational Committee of
                                                                                                 TOTAL P.O1
                                 the Red Cross
       CONFIDENTIAL                                                       SHATSKY-JD01256-T
  Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 36 of 115


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        IEnglishl Palestinian National Authority                                                                IEnglishl Palestinian National Authority
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                    Deteinees Affair                                                                                        Dctainees Affair
                                                                        Palestinian Author ityl
                          Hebron                                                                                                  Hebron



                                                                       Main Prisoner Form

 Form no.:                      4      5                0          4                    o               3
 form issuanc€ date:            4.3.2011                                                                                   Hebron


1, Basic information concerning the prisoner:

 lD no. 19 disitsl                                                                                          9               2                7               I
 Four-part                     First name                        Father's name                           Grandfather's                     Family name
 name                                                                                                       name
                         Munir                          Farid                                          Munir                       A-Raibi
 Mother's                Kawthar A-Rajbi                                                               Gender:                     EI Male           I female
 nam€
 DoB:                          7t                                                                      Place of birth           Hebron
 lducation:              I llliterate                                             school          D                                        !H           education
 Profession              Laborer                                                                       Organization:            Hamas
 prior to arrest:
 Arrest date:            3.17,2003                                                                     Place of arrest:         Gilbua
 Arrest status:          ! Detalned                 E Sentenced              E Administrative                       fl Free                      E Other
 ln case of life         Day            Month           Year                 Expected release date                   DaY           Month         Year
 sentence                                                                    according to verdict:                                               Life term
 according to
 tcRc
 Certificate
 Permanent               Governorate                Hebron                   Residential complex:                      Redacted
 residence:
 Notes


2. lnformrtion concernlng previous .rtcats:


Number of previous arrests: _,--1       _,           Only thos. att.sted to by ICRC certificat€s, in chronological order from newest to oldest.


  No.        Arrest date         Arrest type                Release date                    Arrest period                                   Notes
                                                                                  Dav            Month          Year
 1.                  I                          I
 2.               I                         I                      I
 3.              I                                                I
 4.              I                      I                        I
 5.             l
                                                                                    1


 IEnglishl Ramallah, P.O Box 2105                                                                                  IArabicl Ramallch, P.O Box 2105
 I el : O2226423 XX-XXXXXXX                                                                                        r el 02225423 XX-XXXXXXX
 Hebron/wad altoufah st - almaha                                                                                   Hebron/wad altoufah st - almaha
 buildins                                                                                                          building
 leh O2-2226423 Fax: XX-XXXXXXX                                 E-mall; asarehb@planet.edu                         T el : O2-2225423 F ax: O2-2213993




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   Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 37 of 115




CONFIDENTIAL                                                                                               SHATSKY-JD01262-T
          [handwritten in Arabic:] Munir Farid A-Rajbi                                                 Haifa District Court
       Haifa District Court (before a panel)                                                           Criminal case 189/03
                                                                                                       State of lsrael vs. M. Rajbi
               Defense attorney must be assigned                                                       Starting date;April 8, 2003

                                                                                              [deleted:]


                The Plaintiff: The State of lsrael
                                                                                   [stamp:]
                                                                                   Palestinian
                                 versus
                                                                                   Prisoners

                The Defendant: [handwritten in Arabic:] Munir Farid A-Rajbi
                                                                                          [stamp:]The Court
                                 [in Hebrew:] Munir Ben Farid A-Rajbi                     [deleted]
                                 lD numberR"d""t'd9271, uorn Redacted, 1971
                                                                                          [date deleted]
                                 93 Shivat Zion Street, Haifa
                                                                                          Received
                                                               lndictment

                   The defendant is hereby indicted as follows:


                      A. The Facts:
                     l. The Defendant is brotherto lsma'il Rajbi, a residentof Haifa born in 1987 (hereafter, "lsma'il") and to Hafez
                        Rajbi, a resident of Hebron (hereafter, "Hafez").
                    2. On the dates to which this indictment refers, Hafez was a military operative of the Hamas organization, which
                        is designated a terror organization according to a government declaration under clause 8 of the prevention
                        of Terror Ordinance of 5708/1948.

                    3. ln or around October 2002, at a date not known precisely to the Plaintiff, Hafez told the Defendant that he
                        had been recruited into a Hamas cell. Later, Hafez told the Defendant that he had taken part in many terror
                        attacks against IDF soldiers, including the throwing of a grenade at an IDF roadblock nearthe Cave of the
                        Patriarchs in Hebron, the killing of a male and female soldier with another person in the Hebron area, and
                       the killing of three IDF soldiers in a shooting attack in the Wadi Saman area.
                    4. During the year 2002 and until his arrest, the Defendant spoke with lsma'il on a number of occasions about
                        his military actions against lsrael.
                    5. ln one of the conversations between the Defendant and lsma'il as mentioned in item 4, on a date not known
                       precisely to the Plaintiff, the Defendant and lsma'il conspired to commit a suicide terror attack together inside

                       lsrael as will be detailed subsequently. According to the plot that the Defendant proposed to lsma'il, the two




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               of them would commit a joint suicide attack with lsma'il blowing himself up and the Defendant blowing himself

               up aftenivard at the same place in order to cause casualties among the seeurity and rescue forces that would
               come to the scene of the attack, his intent being to bring death to citizens and residents of the State of lsrael
               and to aid the enemy in its war against lsrael. lsma'il gave the Defendant his assent to the perpetration of
               the suicide terror attack, and the Defendant informed Hafez of that assent.




                                                                                            SHATSKY-JD01 262-T [continuedI

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               6.      ln the course of the Defendant's conversations with lsma'il, at a date not known precisely

               to the Plaintiff, the Defendant
                                                  - having realized that lsma'il knew how to operate mobile
               phones
                        - also asked lsma'il to experiment with connecting a mobile phone to a lamp so as to
               cause the lamp to light up when the phone rang. The Defendant explained to lsma'il that the end
               purpose of the experiment was to eventually commit a terror attack by attaching a mobile phone

               to explosives and setting them off in order to bring death to citizens and residents of the State of
               lsrael and to aid the enemy in its war against lsrael. lsma'il assented to that request as well.
                 7. Around the end of February 2003, on a date not known precisely to the Plaintiff, the Defendant
                 and Hafez met at Hafez' home in Hebron and conspired to commit a suicide terror attack in Haifa as described above;
                 8. Hafez approached the Defendant and explained that he wished to commit a suicide terror attack in Haifa and that he
                 needed his help in the perpetration of that attack, including help in finding a target for the terror attack, in bringing the
                 attacker into lsrael, and in concealing the explosive device that the terror attack would employ. The Defendant agreed to
                 assist Hafez, and the two of them agreed to continue discussing the exact details of the terror attack later.
                 9. Further to what is described in item 8 above, the Defendant, Hafez, and lsma'il met in Jerusalem on Saturday, March
                      1' 2003.lsma'il was sent away from the place so that the Defendant and Hafez could continue planning the terror attack.

                      During the conversation between the Defendant and Hafez, Hafez informed the Defendant that the terror attack was
                      intended to be mounted in Haifa on behalf of Hamas, that the suicide bomber was to arrive from Hebron, that Hafez
                      was assigned to bring the terrorist in his truck to an agreed location, and that from that location the Defendant was to
                      drive the suicide terrorist to the site of the terror attack. The Defendant, for his part, suggested that a suitable site for
                      the terror attack would be a government building in Haifa, such as the lsrael Security Agency facility.
                      On Tuesday, March 4, 2003, the Defendant spoke with Hafez and the latter informed the Defendant that the suicide
                      bomber, code-named "the washing machine," would be arriving in lsrael in order to commit the suicide terror attack.
                      The Defendant replied to Hafez that the plan was all right with him.
                    ll. On Wednesday, March 5, 2003, Hafez drove Hebron resident Mahmoud Qawasmeh (hereafter, "the Suicide Bombe1,)
                    from Hebron to Haifa. Around midday, the Defendant and Hafez spoke by phone and the Defendant understood from
                    Hafez that the latter, together with the Suicide Bomber, was on his way to carrying out the suicide terror attack.
                    12. Despite everything as described above, the Defendant did not inform anyone of the impending terror attack and did
                      nottake reasonable action to prevent its occurrence, its completion, and its consequences.
                    13' The Suicide Bomber boarded a number 37 Egged bus in Haifa and blew himself up at approximately 2 p.m. inside the
                      bus, at 48 Moriah Boulevard. The explosion resulted in 17 people murdered and dozens injured.
                    14. By his deeds as described above, the Defendant conspired with lsma'il and with Hafez to commit acts that afford
                       assistance to the enemy, his intent being to assist the enemy in its war against lsrael. The Defendant also conspired
                       with lsma'il and with Hafez in a conspiracy to murder. ln addition, as he committed the acts described above, the
                       Defendant knew that Hafez and the Suicide Bomber were plotting to commit an offense pursuant to section G of the
                       Penal Law, which is punishable by imprisonment of at least fifteen years, and he did not take reasonable action to
                       prevent its occurrence, completion, or consequences.




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                   B. Statutor" provisions under whtch the lFfand,ant i3 charoad:
                   1. Conspiracy to assisl tlr,e enerry an lime ot war an olTense pursuanl to secLons 92, 99, ard 499 ot ltn Peflal Law
                   d 573711977                                             -
                                                                                       3{X) and 499 of the Penal Law ot 573711977-
                   Z. Cffispiracy lo murder
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                   3- Coverir€ up an offense              purswrnl to section 95 of tne Penal Laqt aI 57371't977.
                                             - an ofrense
                                                            pursuant lo seclion 252 of tlte Penal Lalv ot 573711977 .
                   4. Nonpreventsn ot a crime
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                   c. ufihcsscs fortho PJosccution:


                   ,1.
                         Advancei Slaff Sergeant Major Hezi Sher€sh ot lhe speclal coastal police unit

                   2. hrna'il Rqbi (under arest)
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                   !. Ali Railri, lD numberRdddl5T3T * to be called Dy tfn Plalnffi
                   t" Tlle rnan l(nown as "Lavie" - lo be called bV the Plaintitl
                   5. The man hnown as "Yaofl" - to be called by the Plaintiff
                   6. The man kmwn as "Eddieo * lo be called by tk Ptainliff
                   ?. Ttle mil lmontn as "Ehutl" - to be called try the Plaintilt
                    $. The mafl known as "BeflUie" to h€ c#d bY lhe Plaintifl
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                     9. T1€ mat lmo$ia as "Abu Hanf - lo be calbd by the Plaintrff
                     10. OshnAbukasts - the Alon unit
                     l1imir Goltlstein - Special coastal police unit

                                      - I Kirq Saul Sbeet, Neve David -
                     12. Alex Haimov                                                 Haifa

                     13. Mantan Oamuni
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                                                         police unal
                     14. Gr(bon Kluger
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                     15- Dr. Bartobn Levi ot the Natbnal Center of Forensic Medicine tAbu Kablr)

                         16 Dr Ricardo Ntrhman of the National Cenlel ol Fofensic Medicine {AlxJ Kabr}
                         17. Medical documentation (of those injured ln the lenor attack)

                         (Furce File 2880t03" Halfa station)




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      CONFIDENTIAL                                                                SHATSKY-JDOI266-T
                                      In the name of Allah, the Gracious, the Merciful
[Arabic:] Palestinian National Authority                                         [English:] Palestinian National Authority
                                                               P.A.          Ministry of Detainees & Freed
Ministry of Detainees & Freed
Detainees Affair                                             emblem          Detainees Affair
        M'sF.&I.C.E                                                                  Hebron Administration




                                                                                         Date: 4.3.2011


      Abdul Jabbar Salem, may Allah protect him
      Acting Directing General for Allowances
      Finance Ministry


       Via
       The Honorable Shukri Salameh
       Director General of the General Department for Detainees
       Ministry of Detainees & Freed Detainees Affair

       Greetings,
                                     Re: Confirmation of Arrest Status for a Pnsoner


       The General Department for Detainees and Ex-detainees in the governorate of Hebron affests
                                                                         Redacted
       that the prisoner Munir Farid Munir A-Rajbi, whose I.D. number is          9 227, from the

       governorate of Hebron, is serving his sentence in the prisons of the occupation for his national
       struggle, and he is a security prisoner throughout the period of his arrest.


                                                   Respectfully,

             Director General of the Ministry of
                                                                      Authorization of the General Department for Detainees
             Detainees & Freed Detainees Affair
                                                                      Director General of the Department
             Governorate: Hebron
             Director General Name: [illeeible]
                                                                      Stamp and signature
             Stamp and signature: [Department's
                                                                      Date
             sta mpl [handwritten signature]




        fEnglish:] Ramallah, P.O Box 2105                                           [English:] Ramallah, P.O Box 2105
        T el: 022226423 XX-XXXXXXX                                                  T el: 022226423 XX-XXXXXXX
        Hebron/wad altofah st - almaha building                                     Hebron/wad altofah st - almaha building
        Tel: O2-2226423 Fax: XX-XXXXXXX             E-mail: asarehb@palnet.edu      T el: XX-XXXXXXX F ax: XX-XXXXXXX



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                     Exhibit I82
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                                                   Prisoner      Statement
Prisoner no" 101153
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 Prisoner no. l0-153
 Prisr-rner Name: \Iunir Farid l\hurir-A-Raibi                           Docruneut no. 08I05917 I
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                                                  Prisoner       Statement
Prisoner no. 10453
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 Prisoner no, 1045-3
 Prisoner Naure: lv{unir Farid lr.'Iunir A-Ra Jbi                           Docunent rro. 08 I 05927 I
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Prisoner Naure: Mrurir Farid lr.{rurir A-Raibi                             Docrunent no. 08105927 I
Month    Year'    Beneficiary                            ID uo.        BalkNane                Branclr   Account no-     Salarl


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                                              Prisoner            Statement
 Prisoner no. 10453
 Prisouer Naure: NIunir-Farid Munir A-Raibi                            Docurnent no. 08 I05927I
 Month Year'      Beneficiary                        ID no.          Bank Narue           Branch     Account no      Salarv
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 9        2020   Sa'da Farid Munir Raibi             ^**'-9263                                                       7.485.00
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Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 69 of 115




                    Exhibit 183
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             CONFIDENTIAL                                                                                          SHATSKY-JDO13O2.T

             Palestine Liberation Organization                                           Palestine Liberation Organization
                                                                       IPLO
             Commission of Detainees & Ex-Detainees Affairs                              Commission of Detainees & Ex-Detainees Affairs
                                                                       embleml
             General Directorate of Legal Affairs                                        General Directorate of Legal Affairs
             lin Englishl                                                                lin Arabicl
                                                      Special Power of      Attornev                    930            OK
[handwritten: Audit]
                  from the prisoner, regardine the apportionins of the disbursed monthlv allowance among the
               authorized representatives below, in accordance with the amounts stated in this power of attornev

             l, the undersigned, the prisoner Nassim Rashed "Abd el-Wudud" za'tari from Jerusalem, lD numberR'd'"t"d1870, currently
             located at Rimon Prison, whereas I wish to divide the receipt and withdrawal of my monthly allowance, disbursed by the
             Department of Detainees & Ex-Detainee Affairs, paid out to incarcerated prisoners, between the authorized representative
             (my mother), who was previously confirmed, and the new authorized representative (my sister), regarding the amounts
             stated below to each of them, further to any previous proceeding and for the purposes of this Power of Attorney, I have
             appointed and empowered, to act on my behalf and in my stead, 1 - mv mother. the soecial authorized reoresentative.
             Kafa "Tai A:Pin" Za'tari. lD numberRedacted3go! and I hereby authorize her to receive a portion of my monthly salary,4
             atount of litttlonly, and to have the amount transferred to her account at lltttl.             Furthermore, I appointed,
             delegated and empowered, to act on my behalf and in my stead, the second (2) authorized representative, mv sister. the
             soecial authorized reoresentative. Naiwa Rashed "Abd el-Wudud" Hilwani from Jerusalem, whose lD number isR€dacr€d45Zf{
             to receive whatever remains of the monthlv allowance connected to me. whatevqr that amount haoDens to be. and anv
             additional amounts returned to me due to the orosression of mv term of incarceration onlv, and have the amount
             deposited into@.            Pursuant to this Special Power of Attorney, I delegate, appoint, and empowerthe two
             aforementioned special authorized representatives to receive the aforementioned stated sums and to take all special legal
             and official measures to do so, to supply the competent authority at the Department of Detainees & Ex-Detainee Affairs
             with all of the disbursement confirmations and documents needed for depositing the monthly allowance earmarked for
             prisoners and connected to myself, as stated above, a special power of attorney authorized his opinions, statements,
             actions, to be implemented solely by at the Department of Detainees & Ex-Detainee Affairs. This Power of Attorney and
             my signature therein shall be deemed notification by me on the cancellation of any other Power of Attorney preceding
             this Power of Attorney, in force or otherwise at the Department, and that once any Power of Attotney whatsoever, of
             any type or of any origin, preceding this date, is presented, it shall be deemed null and void by me by virtue of this
             power of this Power of Attorney and the attached confirmation, without holding the Department of Detainees & Ex-
             Detainee Affairs legally responsible.

             lssued on 77.73.2017. Full name of the prisoner: [handwritten: Nassim Rashed Abd el-Wudud za'tari.

             The grantor-prisoner's signature - [handwritten signature- Nassim Za'tari]

             l, attorney Mu'taz Shaqirat, an attorney at the Department of Detainees & Ex-Detainee Affairs, confirm that the
             aforementioned prisoner had signed the request and Power of Attorney before me and in my presence on !L!3.egU at
             the General Directorate of Legal Affairs/the Department of Detainees & Ex-Detainee Affairs.

                                                                                               Attorney's signature and stamp

                                                                                               Mu'ataz Shaqirat

                                                      [stamp - Shaqirat Mu'ataz, Adv.][handwritten siBnature- lllegible ]

             Power of Attorney of the General Director of Legal Affairs

             lmportant note: this power of attorney shall not be valid until it is authorized by the General Directorate of Legal Affairs in
             the commission.

             [stamp - Palestinian Liberation Organization, Department of Detainees & Ex-Detainee Affairs, General Directorate of Legal
             Affairsl Ihandwritten signature]

             [handwritten G regorian dale- L7.27 .2077)

             Lwees Bldg., Sateh Marhaba, P.O. BOX 2105 Ramallah           Lwees Bldg., Sateh Marhaba, P.O. BOX 2105
             lcut offl IEnglish]                                          Ramallah [cut off] [Arabic]
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Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 71 of 115




       CONFIDENTIAL               Confirmation renewol                     SHATSKY- JDO13O4-T


                    [Signoture] [English:j TO WHOM lT MAY CONCERN
                                                                           No.07005

                                                                                   930

       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI

       From:.ENJEBSIEM ID No. R"d"d"d@
       Was arrested by the lsraeli Authorities on (DD/MM/WW): 09.09.2003

       He isto date: Sentenced

       [ength of sentence / administrative period: life sentence

       He/She was released on (DD/MM/Y$fY):-xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx




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       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI

       From:   j!!!!$![!!      tD No.R"d"d"d@

       Was arrested by the lsraeli Authorities on Day: @ Month:..1@Year:rz@

       He/She is to date: Awaiting Trial D Sentenced E Administrative tr

       Lenglh of sentence / administrative period: life sentence

       He/She was released on Day:     -4            Month: xxxx Year: xxxx
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                                          the Red Cross              ICRC Delegate

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Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 72 of 115




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       This certificate is valid only if the English and Arabic parts match each other.

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       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI

       From:EASLI.EBUSAIEM tD No.R"d"'t"d.1!!Zq,

       Was arrested by the lsraeli Authorities on (DD/MM/WW): 09.09.2003

       He is to date: Sentenced

       Lengh of sentence / administrative period: life sentence                           [signoture] 1.8
       He/She was released on (DD/MM/Y\ryY):_xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx




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                                                                           Sentenced



       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI

       From:l!.@!!!!           lDNo,R"d"d"d@
       Was arrested by the lsraeli Authorities on Day: @ Month:..1@Year: 2003

       He/She is to date: Awaiting Trial   ! Sentenced E Administrative E
       length of sentence / administrative period: life sentence

       He/Shewas released on Day:___4Month:                      xxxx Year:A
       Date:07.14.2005                                            ISionaturel
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       Place: JERUSALEM-DDl                 11.01.2018
                                                                  SERGE PATENAUDE
                                   lnternational Committee of
                                           the Red Cross             ICRC Delegate

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Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 73 of 115




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       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI

       From:.EAS-LIE@IEM lD No.R"du"t"d11a11
       Was arrested by the lsraeli Authorities on (DD/MM/YYW): 09.09.2003

       He is to date: Sentenced

       Length of sentence / administrative periodi life sentence

       He/She was released on (DD/MM/YYYY):-xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx




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       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross certifies that

       MT: NASSIM RASHED ABDELWEDOUD ZAATARI
                                        R"d"d"d1ry
       From: JERUSALEM lD No.

       Was arrested by the lsraeli Authorities on Day: @ Month:..1Q!Year: 2003

       He/She is to date: Awaiting Trial tr Sentenced E Administrative tr

       Lenglh of sentence / administrative period: life sentence

       He/Shewas released on Day:---&Month:                        xxxx Year: xxxx
       Date:07.14.2005                    CERTIFIED UPDATE
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                                             08.13.2013            SERGE PATENAUDE
       Place: JERUSATEM-DDl
                                   I   nternational Committee of
                                            the Red Cross            ICRC Delegate

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CONFIDENTIAL                                                                                                                 SHATSKY-JDO13O7-T




 IEnglish] Palestinian National Authority                               IEmblem of the                     [Arabic] Palestinian National Authority
 Ministry of Detainees & Ex-detainees Affairs                       Palestinian Authorityl            Ministry of Detainees & Ex-detainees Affairs
 Gen. Dep, Detainees & Ex-detainees                                                                             Gen. Dep. Detainees & Ex-detainees



                                                                 Main Prisoner Form

    Form no.:                   4        5           I          7              5              9
    Form issuance date:         3lrs/20tt                       Ministry's administration/branch:                lerusalem


1. Basic information concerning the prisoner:

    lD no. (9 dieitsl                                                                             7               8               7              0
    Four-part                  First name                     Father's name                    Grandfather's                     Family name
    name:                                                                                           name
                        Nassim                       Rashed                                  Abd el-Wudud                Al-Za'tari
    Mother's            Kifa                                                                 Gender:                     M wale           ! Female
    name:
    DoB:                         981                                                         Place of birth:         Jerusalem
    Education:          tr llliterate        trE                       High school                       tr University           tr Higher education
    Profession          Laborer                                                              Organization:
    prior to arrest:
    Arrest date:        e/s/2003                                                             Place of arrest:         At home
    Arrest status:      tr Detained            M Sentenced           E Administrative                      tr Free                    tr Other
    ln case of life     DaY             Month        Year        Expected release date                     Dav           Month        Year
    sentence                            Life                     according to verdict:
    according to                        term
    tcRc
    Certificate
    Permanent           Governorate            Jerusalem         Residential complex:                         Redacted
    residence;
    Notes:


2. lnfolmation concerning previous arrestst    J_.         Only those attested to by ICRC certificates, in chronological order from newest to oldest.

     No.     Arrest date         Arrest type             Release date              Arrest period                                 Notes
                                                                           Dav          Month          Year
    1.
    2.
    3.
    4.
    5.
    6.



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CONFIDENTIAL                                                                                                                 SHATSKY-JDO13O7-T
 Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 75 of 115


CONFIDENTIAL                                                                                               SHATSKY-JDO13O8-T


 IEnglish] Palestinian National Authority                    [Emblem of the                [Arabic] Palestinian National Authority
 Ministry of Detainees & Ex-detainees Affairs             Palestinian Authorityl      Ministry of Detainees & Ex-detainees Affairs
 Gen. Dep. Detainees & Ex-detainees                                                             Gen. Dep. Detainees & Ex-detainees



3. Social Status lnformation:

 Marital Status:             EI Sinele              tr Married                     E Divorced               tr Widow
 lf Married:                 Enter data of spouse and children
 Spouse's lD No.                                                        Marriage Contract Date
 Spouse Name                                                                          Number of Children
 Data on children from first wife: (sons under 18, unmarried daughters of all ages)
 No.     Name                                              DoB          Marital Status Education
 1.
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4. lnformation of Authorized Representative (Beneficiary):

                 ID:                                                                   3           0             6            T

 Authorized Representative
 - Beneficia       Name:                 -T -T -T
                                   Kifa Taj A-Din Abdel Haez Za'tari                             Relationship:       Mother

 Date of Authorization if                                             Authorization's Period of Validity:
 Available:
    Bank:                          Redacted                           Bank Branch:                            Al-Ram
    Account No.:                                                             Redacted
    Landline Phone No.:            Redacted                           Cell Phone No.
    Permanent Beneficiary's        Governorate       Jerusalem        Residential complex:
    Address:
    Notes:


    Applicant's Notes:
    Confirmation               I the undersigned confirm and testify that all of the information provided in this application
                               is correct and ltake responsibility for it.
    Applicant's Signature:


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CONFIDENTIAL                                                                                                SHATSKY-JDO13O8-T
Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 76 of 115




   SHATSKY-JD01312-T                                                                                          CONFIDENTIAL


                                                          lsrael Defense Forces
   ln the Military Court                                                                             Court File: 0314113
   Judea                                                                                   Prosecution File: 1570/03
   Before Panel                                                                            Police File: 22619103 Zion
                                                                                                     1404/03 Shafat
                                                                                                     3861/03 Hebron
                                                                                                     3862/03 Hebron
                                                                                                     3863/03 Hebron
                                                                                                     3864/03 Hebron


                                   ln the case between the Militarv Prosecutor - the Prosecution


                                                                    It
   [Anbic handwriting:] Nasim Rashed Abd el-Wudud Zalai
   Nasim Rashed Abd el-Wudud          Za'tari         [unclear text in Arabic hanclwiting, ending in the wods: the sitting of 9/11]
   I   D Number Rd""td 1 870, Date of Birth R'd""'*. 1 98 1, resident of A-Ram
   Detained since 09      09'200
                                                              the Defendant -


                                                              lndictment

   The abovenamed Defendant is herebv indicted for commiftino the followino offenses:


   Fllst Count:
   Nature ofthe Offense:Membership in an unlawful association, an ofiense pursuantto Regulation 85(1Xa) ofthe Defense
   Regulations (Emergency), 1 945.
   Details of the Offenso: The abovenamed Defendant, within the Region, starting in April 2003 and up to the date of his
   arrest, was a member or acted as a member of an unlawful association, specifically:
   The abovenamed Defendant, during the said period, was a member of the lzz a-Din al-Qassam Brigades, the military wing
   of Hamas, which is an unlawful association.
   The Defendant was recruited into the service of the military wing of Hamas in Hebron by Ahmad Badr, head oI the lzz a-
   Din al-Qassam Brigades in the Hebron Region. On the occasion of his recruitment, the Defendant expressed his agreement
   to execute terror attacks against lsraeli targets in Jerusalem.
   The meeting between the Defendant and Ahmad Badr was organized by Ubeida Badr.
   The abovenamed Ahmad Badr told the Defendant to locate places in Jerusalem where suicide terror attacks could be
   executed, lo make plans for executing terror attacks in said places, and plan the transfer of suicide bombers whom Ahmad
   Badr would send, from Abu Dis to the above-mentioned places. Likewise, Ahmad Badr asked the Defendant to recruit
   another person who had an lsraeli lD card, who would help the Defendant execute the above-mentioned missions. Ahmad
   Badr explained to the Defendant about the interrogations of the lsraeli General Security Services and instructed the
   Defendant to keep silent in the interrogation if he is arrested.
   The Defendant agreed to implement everything that Ahmad Badr asked of him and received from Ahmad Badr the sum of
   NIs1,000.
Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 77 of 115




   The Defendant and Ahmad Badr arranged how they would meel in Hebron and also established communication
   arrangements between them.
   As part of the Defendant's activities in the military wing of Hamas, the Defendant was in constant contact with the
   abovenamed Ahmad Badr and even came to weekly meetings with the latter that look place in Hebron.


   Prosecution File 1 570/03
   SHATSKY-JD01312-T                                                                             CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-28 Filed 05/16/22 Page 78 of 115




   SHATSKY-JD01313-T                                                                                    CONFIDENTIAL


   Second Count:
   Nature of the Offense::Providing a service to an unlaMul association, an offense pursuant to Regulation 85(1)(c) of the
   Defense (Emergency) Regulations, 1 945.
   Details of the Offense: The abovenamed Defendant, within the Region, in or around April 2003, did some kind of work or
   provided some kind of service for an unlawful association, specifically:
   The abovenamed Defendant, on the said date, approximately two days after the meeting with Ahmad Badr in or around A-
   Ram described in the first Count of the indictment, recruited his brother-in-law - Majdi Barkat Abdel Ghafer Za'tari, code-
   named "Abu Alaa," into the military wing of Hamas.


   Third Count: (Police File 1404103
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No. 378),5730-1970, and Sections 14(a) and 19 of the Criminal Liability (Judea
   and Samaria) Order (No. 225),5728-1968.
   Details ofthe Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 05.18.2003,
   attempted to intentionally cause the death of another, specifically:
       1. The abovenamed Defendant, in April 2003, in A-Ram or thereabouts, recruited his brother-in-law - Majdi Barkat
            Abdel Ghafer Za'tari, code-named "Abu Alaa," into the military wing of Hamas, as described in the second Count
            of the indictment. On the occasion of the recruitment, the Defendant instructed Majdi Za'tari to gather information
            on Egged bus line #45 that runs in the area ofthe Neve Yaakov neighborhood ofJerusalem, for the purpose of
            sending a suicide bomber to execute a terror attack on said bus with the intention of causing the death of as many
            lsraeli civilians as possible.
       2. The abovenamed Defendant met in Hebron with his commander in the military wing of Hamas, Ahmad Badr, and
            updated the latter about the actions that he had executed.
       3. The abovenamed Defendant, in April 2003 in A-Ram or thereabouts, rented an apartment for the period of a
            month for NlS400. The Defendant planned to host overnight in the said apartment the suicide bomber who would
            come from Hebron to execute the planned suicide terror attack on the #45 bus in Jerusalem.
       4. Several days later, the Defendant met with Majdi Za'tari, who told him that he had gathered information on the
            above-mentioned #45 bus line and that the bus leaves Neve Yaakov every moming at 06:30 and that lhere were
            no security guards, neither on the bus itself nor at the stops on the bus route.
       5. On 05.16.2003, the Defendant came to Hebron and met there with his commander in the military wing of Hamas,
            Ahmad Badr. The Defendant reported to Ahmad Badr about his recruitment of Majdi Za'lafilo Hamas, about the
            apartment rental for the suicide bomber, and about the information collected by Majdi Za'lati as said above. The
            Defendant told Ahmad Badr that everything was ready for the execution of the planned suicide terror attack.
       6. Ahmad Badr told the Defendant that the latter had to meet the next day with the suicide bomber at 16:00 near the
            Arab Bank in Abu Dis. Ahmad Badr said that the suicide bomber would come equipped with the explosive belt for
            the purpose of executing the planned suicide attack, and that the terrorist would be wearing a brown hat and a
            watch on his left hand. Ahmad Badr said that the Defendant would identifo the terrorist according to the
            abovenamed signs as well as the code-words, with the Defendant asking the terrorist'Wrat time is it?" and the
            terrorist answering "The watch is broken." Ahmad Badr said that after he collected the suicide bomber from Abu
            Dis, the Defendant should take him to the apartment he had rented in A-Ram, and send him from there to execute
            the planned terror attack on Sunday, 05.18.2003. Ahmad Badr asked the Defendant to purchase Jewish-looking
            clothing for the suicide bomber so that no one would suspect him lvhen he would leave to execute the terror
            attack.
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       7. After his return from Hebron, the Defendant met in A-Ram with Majdi Za'tan and told the latter about the
           instructions that he had received from Ahmad Badr in Hebron. The Defendant told Majdi Za'tari that he would
           bring the suicide bomber himself on Sunday 05.1 8.2003 from A-Ram to the Neve Yaakov junction, and from there
           Majdi Za'tari would take the terrorist to the bus-stop at the entrance to Neve Yaakov so that the suicide bomber
           could get on bus line #45 and execute there the planned suicide terror attack.
       L   On Saturday, 05.17.2003, around 1 7:30, near the Arab Bank, the Defendant met Mujahid Ja'bari (hereinafler: the
           Suicide Bomber) who was sent by Ahmad Badr. The Defendant identified the Suicide Bomber according to the
           hat, watch and code-words, as said above. The Suicide Bomber came holding a metal milk can which held the
           explosive belt.




   Prosecution File 1570/03                                                2

   SHATSKY- JDO1313-T                                                                                CONFIDENTIAL
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   SHATSKY- JDO1314-T                                                                                     CONFIDENTIAL


      9. The Defendant, together with the Suicide Bomber, reached the A-Ram junction and there he made contact with
             Majdi Za'tari. A friend of the Defendant, Hamza Mustafa Hamadiya, drove the defendant and the Suicide Bomber
             from Abu Dis to A-Ram, to the home of Majdi Za'lan. Hamza Hamadiya drove the Defendant and the Suicide
             Bomber in a Fiat vehicle that he had taken from his brother.
      10. ln A-Ram, the Defendant and Majdi Za'tari purchased for the Suicide Bomber a pair of jeans, a button-down jeans
             shirt with short sleeves, sneakers and food. The Defendant purchased two cellular phones in order to keep in
             contact with the Suicide Bomber when the latter would leave to execute the planned suicide terror attack and in
             case he wouldn't succeed in executing the planned terror attack and remain alive.
      1 1   . After the Suicide Bomber ate, Majdi Za'tari took the Suicide Bomber to a barber shop, wfiere the latter got a
             haircut and shave in preparation for the execution of the planned suicide terror attack. After that, the Defendant
             and Majdi Za'tari dressed the Suicide Bomber in the clothes they had bought, as said above, and even dressed
             him in the explosive belt that the Suicide Bomber had brought with him from Hebron.
      12. The Defendant and Majdi Za'tari were not pleased by the result, as the explosive belt stuck out very obviously
             from under the jeans shirt that they had bought. The Defendant went home and brought from there his sister's
             schoolbag. The Defendant put the explosive belt into the above-mentioned schoolbag, made a hole in the back
             of the bag and drew out lhe wires with the switch that activated the explosive belt. Likewise, the Defendant made
             a hole in the back of the shirt that the Suicide Bomber wore, so that it would be possible to pass through it the
             wires and switch of the explosive belt. The Defendant and his abovenamed friends completed the preparations
             for the execution ofthe planned terror attack around 21:00, and decided that the Defendantwould take the Suicide
             Bomber the next morning and that Majdi Za'tari would meet the Suicide Bomber at 06:00 at the Neve Yaakov
             junction.
      13. The next day, on Sunday, 05.18.2003 at 05:00, the Defendant and the Suicide Bomber arose, prayed and the
             Defendant gave the schoolbag containing the explosive belt to the Suicide Bomber. The Defendant passed the
             wires and switches of the explosive belt (there were two - so that if one switch didn't work it would be possible to
             detonate the explosive belt by using the second one) through the holes in the schoolbag and shirt, and taped
             them to the Suicide Bomber's stomach with lsolierband. The Defendant attached a battery to the explosive belt
             and also gave the Suicide Bomber one ofthe cellular phones that he had purchased, as said above.
      14. Around 05:30, the Defendant and lhe Srricide Bomher teft the Defendant's house in A-Ram in order to carry out
             the planned suicide terror attack with the intention of causing the death of as many people as possible.
      15. The Defendant and the Suicide Bomber walked in the direction of Dahiyat al-Barid. The Defendant walked in front
             and the Suicide Bomber walked approximately 30 meters behind him. ln the area of Amarat Nuseiba the
             Defendant noticed an IDF force that had arrived at the site as reinforcements following a suicide terrorist attack
             that had occurred approximately 20 minutes prior on the Egged bus line #6 in French Hill in Jerusalem. The
             Defendant immediately called the Suicide Bomber and told him to tum around because there were IDF forces in
             the area. The Defendant was stopped at the scene by the above-mentioned IDF soldiers, but at that moment the
             IDF soldiers noticed the Suicide Bomber fleeing in a run from the site and let the Defendant go.
      16. The Defendant left the site and after approximately 5 minutes he heard the blast, when the above-mentioned
             Suicide Bomber, Mujahid Ja'bari, upon attempting to flee from the IDF soldiers who were chasing him, activated
             the explosive belt that he had on his body. As a result of the explosion of the explosive device the Suicide Bomber
             was killed and did not cause damage to anyone else.
      17. The Defendant drove from the scene to Al-Aqsa Mosque in Jerusalem and from there he contacted Majdi Za'tari
             and reported what had happened. Afterwards, Majdi Za'tari also came to Al-Aqsa and talked to the Defendant
             about what had happened in the area of A-Ram prior to that.
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  Fourth Count: (Police File 22619103 Zionl
  Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
  and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
  225),5728-1968.
  Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
  intentionally caused the death of another, specifically:
      1. The abovenamed Defendant, in July2003, in Hebron orthereabouts, metwith Ahmad Badr, his commanderin
           the military wing of Hamas. The Defendant reported to Ahmad Badr about what had happened with the Suicide
           Bomber, Mujahid Ja'bari, as described in the previous Count of the indictment. Ahmad Badr told the Defendant
           that it was his mistake that he had not told the Defendant that another suicide terror attack would take place 0n
           bus line #6 in French Hill in Jerusalem on the same day. Ahmad Badr told the Defendant that the people who had
           taken




  Prosecution File 1570/03                                                 3

  SHATSKY. JDO1314.T                                                                                  CONFIDENTIAL
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   SHATSKY- JDO1315-T                                                                                     CONFIDENTIAL


            the suicide bombers to the above-mentioned terror attack in French Hill and to the suicide terror attack on bus
   line #14 near the Clal Center building in Jerusalem in
            June 2003 had been arrested by the lsraeli security authorities.
       2- Ahmad Badr asked the Defendant to find a site where a suicide terror attack could be executed with the intention
            of causing the death of as many people as possible, in order to avenge the death of the head of Hamas' military
            wing - Abdullah Qawasmeh. Likewise, Ahmad Badr gave the Defendanl the sum of 1,000 Jordanian dinar so that
            the Defendant could learn how to drive and be able to drive to Tel Aviv in order to collect information there
            regarding appropriate sites in which to execute suicide terror attacks.
       3. On the evening of that same day, the Defendant met in A-Ram with Majdi Za'lail and updated the latter about the
            plan to execute another suicide terror attack within the framework of their activities in the military wing of Hamas.
            Majdi Za'tari agreed to find an appropriate site for the execution of a suicide tenor attack. The Defendant and
            Majdi Za'tari decided that they would execute another suicide terror attack on a bus full of passengers or in a
            restaurant, with the intention of causing the death of as many people as possible.
       4. On or about 08.10.2003, the Defendant and Majdi Za'tari carried out a reconnaissance of Jerusalem with the goal
            of finding an appropriate site for the execution of the planned suicide terror attack. Around 21:00, in the area of
           the Novotel Hotel on Route 1, the Defendant and Majdi Za'tari observed a double Egged bus line #2 full of people
           and decided that they would execute the planned suicide terror attack on bus line #2. fhe Defendant and his
           friend agreed that Majdi Za'tari would collect information regarding bus line #2 because the Defendant had a
            beard and thus he could be suspected. Majdi Za'tari updated the Defendant that he had recruited an additional
            person - Abdallah Adnan Yihya Sharbati, vvho had an lsraeli lD card and owned a car with lsraeli license plates,
           who would help collect information in preparation for the execution of lhe planned terror attack, as well as help in
           transporting the suicide bomber to the attack site.
       5. The next day, around 22:00, the Defendant met at his home in A-Ram with Majdi Za'tari, \,vho told him that he had
           collected information about Egged bus line #2. Majdi Za'tari said that at a traffic light near the Novotel Hotel, the
           #2 bus turns left and immediately afler the turn there is a bus stop. Majdi Za'tari said that Egged bus line #2
            reaches the above-mentioned bus stop around 21:00 while full of passengers and that there are no security
           guards, neither on the bus nor at the above-mentioned bus stop.
       6. After several days, on or about 08.17.2003, the Defondant drovo to Hobron togothcr with Majdi Za'tori ond mct
           with Ahmad Badr, the Defendant's commander in the military wing of Hamas. The Defendant and Majdi Za'tari
           updated Ahmad Badr regarding their plan to execute a suicide terror attack on Egged bus line #2 in Jerusalem
           as well as regarding the recruitment of Abdallah Sharbati, who could bring the suicide bomber in his car with
            lsraeli license plates. Ahmad Badr was very pleased with the plan of the Defendant and Majdi Za'tari and said
           that in the coming days he would send them a suicide bomber for the purpose of executing the suicide terror
           attack on the #2 bus.
       7. Ahmad Badrtold the Defendant and his friend that on 08.19.2003, between 12:00-12:3O, the suicide bomber
           would come to the mosque in Abu Dis and also told them the code-words by which the Defendant and his friend
           could identiry the above-mentioned suicide bomber. Ahmad Badr said that it was up to the Defendant and his
           friend to bring the suicide bomber from the mosque in Abu Dis to the Abidin Mosque in the Wadi Jouz
           neighborhood in Jerusalem. The Defendant requested of Ahmad Badr that the suicide bomber wear black pants
           and a wiite shirt and that he should have a skullcap so that he would look like an ultra-Orthodox Jew.
       8. Ahmad Badr told the Defendant the phone number and address of a moving company in Jerusalem and said that
           he would transfer the explosive belt from Hebron via the above-mentioned company for the purpose of executing
           the above-mentioned planned suicide terror attack. lt would be hidden inside a piece of drywall inside a black
           bag. The Defendant purchased the above-mentioned black bag himself and passed it on that day to Ahmad Badr.
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           Ahmad Badr explained to the Defendant that he would have to attach two g-volt batteries to the explosive belt.
           Ahmad Badr said that in the moving company the above-mentioned piece of drywall with the explosive belt will
           be listed as being for Aziz al-Ja'bari, and that the name of the sender would be Yousuf Shahin.
       g. Likewise, Ahmad Badr purchased two SIM cards for cellular phones and determined with the Defendant that
           contact between them would be via sending coded text messages through the cellular phones with the above-
           mentioned SIM cards.
       10. On their way back from Hebron, the Defendant and Majdi Za'tari agreed that Majdi Za'lai and Abdallah Sharbati
           would collect the suicide bomber from Abu Dis and transfer him to the Abidin Mosque in Wadi Jouz. lt was agreed
           that Majdi Za'tari and Abdallah Sharbati would transfer the suicide bomber from the abovenamed mosque to the
           #2 bus stop described above, so that the lafter could execute there the planned suicide terror attack.
       11. Around0S:0OonOs.lg.2003,theDefendantreceivedatextmessagefromAhmadBadrandunderstoodfromits
           contents that Ahmad Badr had sent him a suicide bomber. Around 09:00, the Defendant came to Majdi Za'tari
           and inshucted the latter to leave for Abu Dis with Abdallah Sharbati in order to collect the suicide bomber
           according to the plan described above.




   Prosecution File 1570/03                                                4.

   SHATSKY- JDO1315-T                                                                                  CONFIDENTIAL
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   SHATSKY- JDO1316-T                                                                                      CONFIDENTIAL


      12. The Defendant himself drove to the offices of the moving company in East Jerusalem and received there the
             piece of drywall that had been sent to him by Ahmad Badr from Hebron. The Defendant drove lo Majdi Za'tari's
             parents' house in the Wadi Jouz neighborhood of Jerusalem and hid there the explosive belt that was hidden
             inside the piece of drywall.
      13. Aflerwards, Majdi Za'tari came to his parents'home menlioned above and updated the Defendantthat he and
             Abdallah Sharbati had collected the suicide bomber in Abu Dis and had transferred him to the mosque in Wadi
             Jouz. The Defendant told Majdi Za'tari where he had hidden the above-mentioned explosive belt.
      14. Around 14:30 that same day, the Defendant came to the Abidin Mosque in Wadi Jouz and met there with Raed
             Misk (hereinafter: the Suicide Bomber), who had been brought there by two friends of the Defendant, as described
             above. The Defendant explained to the Suicide Bomber how to hold the explosive belt and how to operate it.
             Afterwards, the Defendant returned to the home of Majdi Za'tari's parents and updated Majdi Za'tari regarding his
             meeting with the Suicide Bomber as well as about the theoretical review of how to operate the explosive belt that
             he had given him. The Defendant explained to Majdi Za'tari how to attach the batteries to the explosive belt.
      15. The Defendant concluded with Majdi Za'tari that during the evening hours the latter, together with Abdallah
             Sharbati, would transfer the Suicide Bomber along with the explosive belt in Abdallah Sharbati's car to the junction
             next to the Novotel Hotel on Route 1 in Jerusalem. The Defendant explained to Majdi Za'tari that the latter and
             Abdallah Sharbati would have to point out to the Suicide Bomber the bus stop at which he was supposed to gel
             onto the line #2 bus and execute the suicide terror attack that was planned with the intention of causing the death
             of as many people as possible.
      16. Around 18:30 the Defendant returned to the Abidin Mosque and met with the Suicide Bomber. The Suicide
             Bomber updated the Defendant that he had come from Hebron to Abu Dis in a taxi that had been stopped on the
             way by IDF soldiers who hadn't checked the Suicide Bomber and hadn't found the black skullcap that he had had
             in his pocket. The Defendant told the Suicide Bomber that after the evening prayers Majdi Za'tari and Abdallah
             Sharbati would come to him in the mosque and bring him to the place where he would execute the planned suicide
             terror attack. The Defendant left the mosque around 19:00 and went to his home in A-Ram.
      17. Around 20:30, Majdi Za'lai and Abdallah Sharbati came in the latter's car, a Renault Express with lsraeli license
             plates, to the Abadin Mosque in Wadi Jouz. Majdi Za'tari and Abdallah Sharbati collected the Suicide Bomber
             and drove lo the Novotel Hotel on Route 1 in Jerusalem, On their way to the abovonamed site, Majdi Za'tari
             attached the two batteries to the explosive belt described above and explained again to the Suicide Bomber how
             to activate the explosive belt. At the junction of the streets near the Novotel Hotel, Majdi za'tari and Abdallah
             Sharbati pointed out to the Suicide Bomber the bus stop for Egged bus line #2 and instructed the latter to wait at
             the said bus stop and to get on a #2 bus around 21 :00 and activate the explosive belt with the intention of causing
             the death of as many people as possible. Vvhen the Suicide Bomber left their car and made his way to the
             abovenamed bus stop, Majdi Za'tari and Abdallah Sharbati fled from the site in the latter's car.
      18. Around 21:10, al the bus stop at the corner of Route 1 and Shmuel Hanavi Street, the Suicide Bomber, Raed
             Misk, got onto an articulated Egged #2 bus that was completely filled with men, women and children. There, the
             Suicide Bomber activated the explosive device he was carrying, with the intention of causing the death of as many
             people as possible.
      1   9. As a result of the explosion of the Suicide Bomber with the above-mentioned explosive device, twenty-two people
             were killed, as will be described in the following Counts of the indictment. Likewise, the Suicide Bomber himself
             was also killed.
      20. As a result of the explosion of the Suicide Bomberwith the above-mentioned explosive device, many other people
             were wounded and injured, as will be described in the following Counts of the indictment.
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       21   . As a result of the explosion of the Suicide Bomber with the above-mentioned explosive device, a great deal of
             damage was caused to property, both to the abovenamed Egged bus and to many vehicles that were near the
             said bus at the time of the explosion.
       22. With his actions described above, the Defendant intentionally caused the death of 37-year-old Tova Lov of
             blessed memory, who was killed as a result of the explosion of the explosive device, as said above.
       23. The next day, during the evening hours, Majdi Za'tari came to the home of the Defendant in A-Ram and updated
             the latter as to his actions on the evening of 08.19.2003.
       24. On 08.23.2003, the Defendant went to Hebron and met there with Ahmad Badr. Ahmad Badr was very pleased
             with the results of the suicide terror attack that the Defendant and his friends had executed and even gave the
             Defendant a gift of 600 Jordanian dinar for the terror attack described above. The Defendant left for himself 200
             dinar and gave the other 400 dinar to Majdi Za'tari in return for the execution of the suicide terror attack described
             above. The Defendant instructed Majdi Za'tari to pass on 200 Dinar to Abdallah Sharbati.


   Prosecution File 1570/03                                                     5

   SHATSKY- JDO1316-T                                                                                       CONFIDENTIAL
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   SHATSKY-    JDO1317-T                                                                              CONFIDENTIAL
   Fifth Count (Police File 22619103Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378),5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.1 9.2003,
   intentionally caused the death of another, specilically:
   The abovenamed Defendant, through his actions described in the fourlh Count of the indictment, intentionally caused the
   death of 70-year-old Rahel WeiE of blessed memory, who was killed as a result of the explosion of the Suicide Bomber
   with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth Count of
   the indictment.
   Sixth Gount:(Police File 226191O3 Zionl
   Nature of lhe Offense:lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Dotails of the Offonse: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   inlentionally caused the death of anolher, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 2.s-year-old Tehilla Nathanson of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Seventh Gount: (Police File 22619103Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details ofthe Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 20-year-old Miriam Eisenstein of blessed memory, who was killed as a resull of the explosion of the Sr"ricide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Eiqhth Count: (Police File 22619103Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51 (a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details ol the Offense :The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of sO-year-old Shmuel Wilner of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Prosecution File 1570/03                                                6
   SHATSKY. JDO1317-T                                                                                 CONFIDENTIAL
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   SHATSKY- JDO1318-T                                                                                 CONFIDENTIAL



   N!$h Coung(Police File 22619103 Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1568.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 24-year-old Menachem Leibel of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.
   Tenth Count: (Police File 22619103Zionl
   Nglure of lhe_gfig@ilntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.1 9.2003,
   intentionally caused the death of another, specilically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 47-year-old Mordechai Shalom Reinitz ol blossed memory, who was killed as a result of the explosion of the
   Suicide Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in
   the fourth Count of the indictment.
   Eleventh Count:(Police File 22619103 Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51 (a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed- Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 65-year-old Hanoch Segal of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Twelfth Gount: (Police file 226'19103 Zionl
   Nature ofthe Offense:lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   lglgjls otlhe OffenseiThe abovenamed_ Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 3-month-old Eli-shmuel Zarkovsky of blessed memory, who was killed as a result of the explosion of the
   Suicide Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in
   the fourth Count of the indictment.




   Prosecution File 1570/03                                                7

   SHATSKY. JDO1318-T                                                                                  CONFIDENTIAL
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   SHATSKY- JDO1319-T                                                                                 CONFIDENTIAL

   Th i rteenth Count: (Pol ice F ile 226'1 9 lO3 Zionl

   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 16-year-old Elisheva Meshulami of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Fourteenth count:(Police File 22615103 Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51 (a) ofthe Security Provisions (Judea
   and Samaria) Order (No.378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed_ Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of S0-year-old Yaakov Yissachar Dov Binder of blessed memory, who was killed as a result of the explosion of
   the Suicide Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described
   in the fourth Count of the indictment.


   Fifteenth count:(Polico File 22619103 Zionl
   Nature of the Offense:lnlentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No.378), 5730-1970, and Section 14(a) of lhe Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1568.
   Details of the Offense: The abovenamed_ Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally mused the
   death of 19-year-old Chava Rechnitser of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Sixteenth Gount:(Police File 2261 9103 Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of S4-year-old Liba Schwartz of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of lhe indictment.


   Prosecution File 1570/03                                                8
   SHATSKY- JDO1319-T                                                                                 CONFIDENTIAL
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   SHATSKY-    JDO132O.T                                                                              CONFIDENTIAL

   Seventeenth Count: (Police Fi le 2261 I I 03 Zionl
   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08' 1 9.2003'
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 44-year-old Golda Zarkovsky of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.
   Eiqhteenth Count:(Police File 22619/03 Zion)
                                                                                                                     (Judea
   Mlure ot!@flense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions
   and Samaria) Order (No.378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003'
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 51-year-old Feiga Dushinski of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.


   Nineteenth Count:(Police File 22619103 Zionl
   Nature ofthe Offense:lntentionally causing death, an ofiense pursuant to Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details ot the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.1 9.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 42-year-old Eliezer Weisfish of blessed memory, who was killed as a result of the explosion of the Suicide
   Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth
   Count of the indictment.
   Twentieth Count: (Police File 22619103 Zionl
   Nature ofthe Offenserlntentionally causing death, an offense pursuantto Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No.378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the death of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 22-year-old Lilach Kardi of blessed memory, who was killed as a result of the explosion of the Suicide Bomber
   with his explosive device on Egged bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth Count of
   the indictment. At the time of her death, Lilach Kardi of blessed memory was pregnant.




    Prosecution File 1570/03                                                I
   SHATSKY- JDO132O-T                                                                                  CONFIDENTIAL
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   SHATSKY. JDO1321-T                                                                                 CONFIDENTIAL


   Twentv-f ift h Gount: (Po ice Fi le 22619t 03 Zionl
                             I



   Nature of the Offense:lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) ol the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19.2003,
   intentionally caused the dealh of another, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally caused the
   death of 27-year-old Mordechai Laufer of blessed memory, who died on 09.05.2003 due to the wounds he suffered as
   a result of the explosion of the Suicide Bomber with his explosive device on Egged bus line #2 on Shmuel Hanavi Street
   in Jerusalem, as described in the fourth Count of the indictment.


   Twentv-sixth Cou nt: (Pol ice Fi le 2261 9103 Zionl
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No.378),5730-1970, and Sections 14(a) and 19 of the Criminal Liability (Judea
   and Samaria) Order (No. 225),5728-1968.
   Details of the Offense: The abovenamed Defendant, variously inside and outside the Region, on or about 08.19. 2003,
   attempted to intentionally cause the death of another person, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, attempted to intentionally
   caused the dealh of all the people who were around the Suicide Bomber, who exploded with his explosive device on Egged
   bus line #2 on Shmuel Hanavi Street in Jerusalem, as described in the fourth Count of the indictment.
   As a result of the explosion of the Suicide Bomberwith his explosive device, approximately 120 people were injured
   who were on and near the abovenamed bus at the time of the explosion.


   Twentv-seventh Cou nt: (Police F i le 22619103 Zionl
   Nature of the Offense:Malicious damage to property, an offense pursuant to Section 53c of the Security Provisions (Judea
   and Samaria) Order (No.378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
  Iletails ol tho Offense: The abovenamed Defendant, variously inside and outside the rogion, on or about 08.19.2004,
   destroyed property or harmed it maliciously and in violation of the law, specifically:
   The abovenamed Defendant, through his actions described in the fourth Count of the indictment, intentionally and in
  violation of the law, caused heavy damage to the #2 Egged bus on Shmuel Hanavi Street in Jerusalem and also caused
  damage to additional vehides and to stores and businesses that were near the site of the terror attack described in the
  fourth Count of the indictment and which u/ere damaged as a result of the explosion of the explosive device.




  Prosecution File 1570/03                                                    11

  SHATSKY- JDO1321-T                                                                                  CONFIDENTIAL
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   SHATSKY-    JDO1322-T                                                                                 CONFIDENTIAL
   Twentv-ninth Gount:
   M!ryLlEl)fl@:Conspiracy to commit an offense punishable by more than three years in prison, an offense
   pursuant to Section 22 of lhe Criminal Liability (Judea and Samaria) Order (No. 225), 5728-1968, and Section 51(a) of the
   Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970.
   Details of the Offense: The abovenamed defendant, in the Region, in or around the months of July - August 2003,
   conspired with another person to intentionally cause the death of another, specifically:
   The abovenamed Defendant, on the said date, in or around Hebron, conspired with Ahmad Badr, the Defendant's
   commander in the military wing of Hamas, to execute an additional suicide terror attack in Jerusalem with the intention of
   causing the death of as many people as possible. The Defendant and Ahmad Badr planned that Ahmad Badr would send
   to the Defendant a suicide bomber armed with an explosive belt, and that the Defendant would bring him to the restaurant
   of lhe Hebrew University on Mount Scopus so that he should execute there a suicide terror attack with the intention of
   causing the death of as many people as possible. According to the instruction of the Defendant, Majdi Barkat Abdel Ghafer
   Za'lafi and Abdallah Adnan Yihya Sharbati gathered information about the restaurant of the Hebrew University on Mount
   Scopus that is located near the student dormitories. ln light of the collected information, the Defendant and Majdi Za'tari
   decided that the site was an appropriate one in which to execute the planned suicide terror attack. The plan of the
   Defendant and his friends was to send the suicide bomber to execute the terror attack in the said restaurant at the same
   time as another suicide bomber would execute a suicide terror attack on bus line #2.fhe plan of the Defendant and his
   friends was not realized because Ahmad Badr sent only one suicide bomber whom the Defendant and his friends, sent to
   execute the suicide terror attack on Egged bus line #2, as described in the fourth Count of the indictment.
   Thirtieth Count:
   Nature of the Offense: Conspiracy to commit an offense punishable by more than three years in prison, an offense
   pursuant to Section 22 ol lhe Criminal Liability (Judea and Samaria) Order (No. 225),5728-1968, and Section 67(axd) of
   the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970.
   Details of the Offense: The abovenamed_ Defendant, within the Region, in or around July 2003, conspired with another
   person to compel a person by force or by threats or by enticing him through deception to go from where he was, in order
   to blackmail or threaten, specifically:
   The abovenamed Defendant, on the said date, in or around Hebron, conspired with Ahmad Badr, the Defendant's
   commander in the military wing of Hamas, to kidnap IDF soldiers for the purpose of conducting negotiations with the lsraeli
   govemment for the release of Palestinian prisoners being held in prisons in lsrael. Majdi Barkat Abdel Ghafer Za'tari was
   also added to the above-mentioned plan. ln order to advance the above-mentioned plan, the Defendant and Majdi Za'tari
   took driving lessons in Jerusalem so that they could drive a car and kidnap lsraeli soldiers.
   Thirtv-first Count:
   Nature of the Ofiense: Conspiracy to commit an offense punishable by more than three years in prison, an offense
   pursuant to Section 22 of the Criminal Liability (Judea and Samaria) Order (No. 225), 5728-'1968, and Section 51(a) of the
   Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970.
   Details of the Offense: The abovenamed defendant, in the Region, during the months of July through the beginning of
   September 2003 or thereabouts, conspired with another person to intentionally cause the death of another, specifically:
   The abovenamed Defendant, on the said date, in or around Hebron, conspired with Ahmad Badr, the Defendant's
   commander in the military wing of Hamas, to execute additional suicide terror attacks with the intention of causing the
   death of as many people as possible. The Defendant, together with Majdi Barkat Abdel Ghafer Za'tari, planned to execute
   suicide terror attacks in an events hall in Talpiot in Jerusalem, in an events hall on Yaffo Street in Jerusalem, on Hayarkon
   Street in Tel Aviv, and in an events hall in Ashkelon, where Majdi Za'tari was employed. The Defendant and Majdi Za'tari
   planned to bring to these places the suicide bombers whom they would receive from Ahmad Badr for the purpose of
   executing through them suicide terror attacks and cause the death of as many people as possible.
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   SHATSKY.       JDO1323-T                                                                             CONFIDENTIAL
   Thirtv-second Count:
   Nature of the offense: Military training without a permit, an offense pursuant to Regulation 62 of the Defense (Emergency)
   Regulations, 1945.
   Details of the Offense: The abovenamed Defendant, within the Region, during or around the months of July - September
   2003, trained or was trained militarily in the use of arms or the practice of military exercises, movements, or operating
   systems, specifically:
   The abovenamed Defendant, on the stated date, in or around Hebron, went through training in the preparation of TATP
   explosives. The training was conducted by Bassel Qawasmeh, one of the heads of the military wing of Hamas in Hebron,
   who also was involved with sending suicide bombers to execute suicide terror attacks in lsrael.
   Thirtv-third Count:
   Nature of the Offense::Providing a service to an unlavvful association, an offense pursuant to Regulation 85(1)(c) ofthe
   Defense (Emergency) Regulations, 1945.
   Details of the Offense: The abovenamed Defendant, within the Region, during or around the months of July - September
   2003, did some kind of work or provided some kind of service for an unlawful association, specifically:
   The abovenamed Defendant, during the said period, togetherwith Majdi BarkatAbdel GhaferZa'tari, on several occasions,
   in or around Hebron, gave to Ahmad Badr, the Defendant's commander in the military wing of Hamas, g-volt batteries, a
   gas gun, handcuffs, teargas, electrical switches and wires. The Defendant and Majdi Za'tari purchased the abovenamed
   items in A-Ram with money that they received for this purpose from Ahmad Badr and Bassel Qawasmeh, commanders of
   the military wing of Hamas in the Hebron Region.
   Witnesses for the Prosecution:
       1   . First Sergeant Yitzhak Yakovof, Badge No.'"**'8358, of Judeah lnvestigations Unit [Takes down the Defendant's
              statements from 09.14.2003 and 09.15.2003 and submits 2 texts handwritten bythe Defendant in Arabic (from
              09.14.2003 and 09.15.2003) + a piece of paper that was presented to the Defendant on 09.14.2003 + 2 reports
              of photo identification sequences from 09.14.2003 + 2 photo boards + Leading and Pointing reports of Abdallah
              Sharbati and Majdi Za'tari.
       2. First Sergeant Moshe Levi, Badge No. *"3117, of Judeah lnvestigations Unit [Takes down the Defendant's
              statements from 10.01 .2003 and submits minutes report and Defendant's handwritten text in Arabic + a picture of
              the Defendant that was presented to Jalal Yaghmour, and accompanying minutes report.l
       3. Superintendent Ofer Shalush, Badge No. **"'6718, Mobile Lab, National Headquarters - Jerusalem. [Submits video
              tapes that document the Leadtngs and Pointings that Abdallah Sharbati and Majdi Za'tari carried out.
       4. Majdi Barkat Abdel Ghafer Za'tari, lD No. Rd""td3490. (Detained) (Prosecution File 1571/03)
       5. Abdallah Adnan Yihya Sharbati, lD No.Redacted2541. (Detained) (Prosecution File 1591/03)
       6. Jalal Jamal Hilmi Yaghmour, lD No. Rd""t"dSg24. (Detained) (prosecution File 1S07l03)
   Police File {404/03 Shafat
       7. Yamin Ghanem, lD No. -""*"'5373, Border Police - 43rd Company ltestimonyl
       8. First Sergeant Dror Cohen, Badge No.'*""4842, Forensics Unit Zion [submits Description of Corpse at lncident
              Scene form + photos from the incident scene.l
       9. llan Granot, lD No. "'9555, Special Duties Department - Jerusalem [submits activity report]
       10. Sagie Matza, lD No.^2421 , North Jerusalem Bomb Lab [submits cover sheet for exhibits]

  (Police File 22619/03 Zion
       1 1   . Ariel Ya'ari, lD No. ^"4522, Bomb Lab, National Headquarlers - Jerusalem. [action reporU seizure and marking
              reportl
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  SHATSKY- JDO1323-T                                                                                    CONFIDENTIAL
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  SHATSKY- JDO1324-T                                                                                                 CONFIDENTIAL



      12. Superintendent Albert Shemaya, Badge No. """0607, ldentification Moriah lsubmits Multi-Casualty lncident Summary forml
      13. SuperintendentLiorNedivi,BadgeNo.*"'2l2T,ForensicsUnitZion[submitsDescriptionofCorpseAtScenereports]
      14. First Sergeant Nissim Alfi, Badge No. **"1059, Forensics Unit Moriah lsubmits Description of Corpse At Scene reports]
      .15. Master Sergeant Avi Dedana, Badge No. **"2341, Forensics Unit Zion lsubmits Description of Corpse At Scene reports]
      16. 2 video tapes documenting the tenor attack site.
      1   7. Photos decumenting the terror attack site.
      18. Video tape - the "will" of the suicide bomber - Raed Misk.
      19. Avraham Yeshayahu Zerbiv, lD No. R"d""r"d0773. leyewitness, injured]
      20. Shalom Goldstein, lD No- Redacbd5029. leyewitness, was in the bus, injured]
      21. Yechiel Luria, lD No. Rd""bd 1222. leyewitness, was in the bus, injuredl
      22. Muiam Garbi, lD No. R"d""t"d0715. [eyewitness, was in the bus, injured]
      23. Shimon Shaya Kadosh, lD No. Rd'd'd3299. leyewitness, injured]
      24. Hannah Nathanson, lD No.Redacted1706. leyewitness, was in the bus, injured]
      25. MatanyaNathanson, lDNo.R"d""bd4492.leyewitness,wasinthebus,injured]
      26. David Avraham Rottenberg, lD No. R"e"t"d9695. leyewitness, was in the bus, injured]
      27. Benuion Chaim Salomon, lD No.R"d'"bd1042. [eyewitness, was in the bus, injured]
       28. OE Cohen, lD No. R€dacted3266. leyewitness, was in the bus, injured]
       29. YechielVictorBorenstein,lDNo-Redacted5359.leyewitness,aidedtheinjuredl
       30. Ami Ben zion, lD No.R"d"d"d9402. leyewitne$, was in the bus, injuredl
       31. Chaim Ze'ev Sivilia, lD No. R€dacted2096. leyewitness, was in the bus, injuredl
       32. Yosef Dinat, lD No.R"d""bd5747. leyewitness, was in the bus, injured]
       33. YosefBar-Or, lDNo.R"d""r"d4OO9.leyewitness,wasinthebus,injured,hissonwaskilledintheterrorattack]
       34. Moshe Strauss, lD No.R"d""t"d6l02. leyewitness, was in the bus, injured]
       35. Dov Eichler, Canadian passport No- ""0""* 35Pc leyewitness, was in the bus, injuredl
       36. Esther Cytrin, lD NoRedacted2918. leyewitness, was in the bus, iniured]
       37. BinyaminCytrin, lDNo.Redacr€d9785.leyewitness,wasinthebus,injured]
       38. Nabil Ali Namer, lD No. R€dacted 8847. (Details in the prosecution file) [driver of the bus in which the suicide bomber exploded]
       39- Yitzchak Azriel, lD No. R"d""bd5490. [eyewitness, was in the bus, injured]
       40. NechemiaSteinharter, lDNo.RedachdS5Sl.[eyewitness,wasinthebus,injured]
       41. YosefSteinovitz, lDNo.R"d'"rd1600.[eyewitness,wasinthebus,injured]
       42. Zvi Segal, lD No. Redacred9152. [eyewitness, was in the bus, injured]
       43. Shoshana Miller, lD No. R"d""td7930. leyewitness, was in the bus, injured]
       44- Chaim Moshe Miller, U.S. Passport No. Redacbd9961 leyewitness, was in the bus, injured]
       45. Yasser Harbawi, lD No. Redacred5105. [eyewitness, injured]
       46. Dr. Ricardo Nachman, the National Center of Forensic Medicine (Abu Kabir) lsubmits expert opinion]
       47. ptof. Yehuda Hiss, the National Center of Forensic Medicine (Abu Kabir) lsubmits expert opinion]
       48. Dr. Esther Dahan, Lic. No. *"7852, Hadassah-University Medical Center - Ein Karem [submits death certificate of Mordechai
              Laufer of blessed memory - physician's certificationl
       49. Lists of injured from Hadassah-University Medical Center - Ein Karem, Hadassah-University Medical Center - Mt. Scopus,
              Shaare Zedek Medical Center Iinstitutional records]
       50. Listsofinjuredintheterrorattack-l06callcenterofJerusalemMunicipalitylinstitutionalrecord]
       51   . The medical records of the injured.
                                                                                                                                   lsignaturel
                                                                                                                   Michael Kotlick, Captain
                                                                                                                         Military Prosecutor

   Date: 11.09.2003
   Reference: 1 570-03
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                                                                                                       Committee of
      According to the information received from the lsraeliAuthorities, the lnternational
       the Red Cross certifies that :

       Mr:        NASSIM RASHED ABDELWEDOUD ZAATARI

       From :            JERUSALEM                                                 lD No'RedactedlST-0
                   EST

      Was arrested by the lsraeliAuthorities on (dd / mm i yyyy) :              09'09'2003


       He is to date :           Sentenced

       Length of sentence I administrative period : life sentence
       l-l e/She was released on (dd/m m I yy yy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX)



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         According to the information received from the lsraeli                         the lnternational Colnmittee of

         tlre Red Cross certifies that :

         Mr:             NASSIIUI RASHED ABDELWEDOUD ZAATARI

         Fronr             EST JERUSALEM                                                      NO. Redactedl B7_0


         Was arrested by the lsraeli Authorities on (dd / ntm I Vyyy): 09.09.

         He is to date       :             Senienced

         Length of sentence / administrative period : life sentence

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        According to the information receirred from the lsraeiiAuthorities, the lnternational Committee of

        the Red Cross certifies that :


        Mr:          NASSIIU RASHED ABDELWEDOUD 7-AATARI

        From   :          EST JERUSALEM                                                               lD No'RedacteqST'o

       Was arrested by the lsraeliAuthorities on (dd I mm I yyyy)                                 09.09.2003

       He is tcr date      :                   Sentenced

       Length of sentence / adrninistrative period : life sentence

       ll e/S he was re I eas ed on (dd/mm I y y y y) : XXXXXXXXXXXXXXXXXXXXXXXXX.XXKXXXXXXXXXXXI



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               Palestinian National Authority
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               According to the inforrnation received
                                                               fronr the lsraeli Authorities, lhe
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               the Red Cross certifies that
                                                :



           Mr:          NASSIM RASHED ABDELWEDOUD
                                                                          ZAATARI
           From           EST JERUSALEM
                                                                                                    lD No: R"0"","d1g7_o
          Was arrested by the lsraeliAuthorities
                                                              on (dd / mm I yyyy)              09.09.2003
          He is to date     :               Senienced
          Lenglh of sentence I administrative
                                                           period : life senlence
          l-le/She was released on (ddim
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                                                                                             Bi,   l'fnt ,ro, ,i;rr"t:?rjl;
                    vrrn 5u nlrpn! n)f rfv, ,-J:)
                    Ny))r rl'lrnD y)))v, -rrNrnn ):nr:n
                                                             1,:o: lN DN-r-Nr ,rd;';r'..,ilrHffil;,1];TJJl
                                                                     r,rn.n,rir;iiii""                                 400   *r:n
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                 D' u'l N ir )y !r', n o *,,. ol          iffi      fff 'j;
                x) ornurxn l)N )l't tP!)-n))lr. oo,:o ilnyu,, iptr 1i l'JgJ;'Jillrr$ :*1i +
                       r
                                                                                                    "Lirn,]i,,,
                                                                               ): Nyt, ut:riutxn )fl ,,/)n 45.rp
                 DNbn n r' x ) v-r r,Nr              \ r, rorf 3,l? ii#;,"i,$;
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                n''rN ,9Nilnn )r)rN) )rry.t1\n)v                                       i,l,l Trlll,
                                                               tot, nt-riN ttr tnnx) n)r), trvrN)n .r.lf rDnN      ?ii 5
                ')ry) rtnx: )lr!,l r1ilp rDNv/ !'i)nn rrr.|x.r -rf,Nnnn
                                     .r)r'l'rhi') r))lrNnnn !)))e vrv):)
                                                                                      )rnnn ..llfy nr)Tn i-l))u
                                                                             1:tn ):n  ,, i-ra ion*l
                16:00 n),v,t ltNnDn ):nnn lN
                                                        ntnn) ot.,, ,,tro) lt..ln|{n )! r: ovrx:) 19Drp)l     Dv/N)n
                                                                                                         -.}'f, lDnN
               \!)n n'll)nr    'r)lJlf y)))   -tNnbi-r    5:nr:n >: -roo ^,ra l,lnN .D)l_.|:Nf )lr),n p)fn                6
               rrr )! 1r!v'rr Drn !:r)            n'l'                                                               ^r))
               rr))b )!) 1:1 )")n D))D)Dn    ?-,,
                                                   rl) .):nr:n
                                                        ):nnn n* 'j tri'jrr',non   r).r*rri-l;-) vu*'!.,r.,.
                                                                    Ii,l"oon)n )) -.)Dn -.)Tf -rnnN .nr)n,un
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               l]!v/n,r ir)), ):nnn) ,t?nyu)i1 nn,, Dr)>br rix'rrn >:nn)
               nvrxrn )y ,D)'T-rrr1,) -rrNr-]Dn ):nr:n                                 n:1, ornii'ar*, ,-r.,pn
               y'>ln !'|srr),r9.05.03,'N                       nx rio"ri, rnN) rr ror -.1rr-irnN .,,)p)ri:5
                                                    D))f tntx nt)v;) D',J,ar DN.1-N.t:v_rv;
               n:n )y rr);rr )v,, D)-r)f -rrNr'ln ):nrn -,r.u                                       nrr.l) t)r:tn)
                                                                     ari> ovrn:no rryrrr;;;;_ .l)lln)3n
               ')nriln        lrrnx) re,r.,.rryr,.r,),r Dy,-{Xil,i#;t.HlilffijillHlX3,
                             nrrrN
               ):nnn nx ))fr) 'rnvy N'ri., r) )rnyr r'r,i,)
               !:nttn nx )r:,' >tryl )-ri)u Dv.rlf I tpr)-i-ll.t)
                                                                   'rlrN Dv/NJn .lrf,n:
                                                                                        1T: -i,nx, )r>pu
               pt:)u'rx) n)!> r:xtnn ):nr:nu                      lnt:!.ox.t_x13,1g.05.03 ,rN D,t)l .rtNr,n
                                                    nni :v:pyr_,-rlr:, nprr:: rNln)n Du.rut*,r
                                                                                                                         rlnn)
               B), e)!) DvrN)n,e,r-*i{, Jrrl:.ll,r_l
               nN nn)t DufN)n           .trl
                                       -rnnN                         ll;]l?:'ffi1TlJ,li?il;llii;-j,ll,
                                             \)-ry n vDu) lrrnnon )rnnn ,1)n); r13y,) tnN,))il
               Nrnv,f y))i'r "'Nn,ln ):nnn .)r!)
                                                             trtrxr ,rrp r'rltor rly\, ,!r)l r!) r:xnnn ):nnn
                                                           .\01 nlt)n nr)n tllrn .ru,x
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                 l-tln .)'tIl\'l )-tr),t D!, -tvJp "')J) trv/l DNl-N nlt)J, yun ,-ttNrDn )rnnn D), ln) rDvrN)n .9
                 tJ)-I-ltNlf lfNnDn )rnt:n nNl nu/Nln nN y)pn,nrlJ).ln NluJl)t
                                                                                                    nlDn,ouNln )\,
                 rf-lf -IrNnbn ):ntrn nNt D\fN)n rN !)Dn n)1nn ntDn .)lnyt )"1/),r )\, ]r])r) ,DNl-N,
                                                                                      .))nNn nP) )IlN -1v./N,pN)5
                 p)r,) n:)ln ,gl)r) )DJfn -IfNrlDn ):nt:n lll!, lt t.l
                                                                                               ,)"lrtl.,l ).t/,.1D1 Du,N)n.10
                 )y cr:rr)t)p 1'rl)u rr>u:n ))v., v-llr DuN)n .):rxt urrsu,DR.l-Nl   ))I,) ,-r:p )lrrvr D!, nrnlllD
                 nl-lfNnnn !r]:rl !tyr:) NJ)) ]ltnNilv/ n),u -nNrtDn ):nnn ny rupn )l -ttt:v_r) r:n
                                           .D))nl lNu,)rt lll.)r)ln yt))!n tlN yy:)nr):r x)u nrpn)t
                                                                                                                  llltnun
                 lllnNn cru' ,nl9Dn) -TlNnbn ):nnn lx np) )-lnyr )^t')b,)f,N r:Ninn ):nnnv tnN).11
                 )tnyl )"r'1)tf'l Du,N)n ,1:tr lnN) .l)f tnnn n'l'rf Nnnn yt))! },lJ)l nNrp} n)tnnl rsnpn
                 ,\!ln n'|t)n tN D)!]v.r;l)n 1xt )rv! l]nNl'ljpu, D)])llrNrlln ):nnn rN tur:!;r
                                                                         .lttlnlr '1,1)'TtNnnn ):nnn N)li) nnlN
                n:)tn) rnnD TrND nu): 1l:n rl])n 1f,vl nNlltnn n)Jl-lD l)n N, rlnyt )r,)13.) DUN);.12
                p)))n ovrN)n .]n]nN )v"/ tlDn-tr: p)n                  Dulf N)l;]) ur:) J)n ov/NJn .))pu, 9)),)
                nN nvl)l N)Jtnt p)nn )u t:rr tln ny/y'lN,r,,Jn "]lDn-n)t p)tl Jltll \t)n nl.|)n xN
                u:)v.' nr)tnn l)f ltn nuy DvrN)n ,l)]nl .\lln nlt)n nt,rycnv;;ruci.n ny a)utnil
                .\tln nt])n )u pvlr:nt D)ulnn nN J.Dt-r tr:!n) n)n) .|n))vl 1: ,t:xnnn ):nr:n
                l)llnun !'l))!n !')v): nNrp) nDfnn rN'l)l))D )rJn l)]tn] DU'N)I 21:00 n!v/n lxrp)
                nN v't)9) )1nJ,\ rr,)n )f] -lp'ltl itnt:) ltNnEn ):ntrn lx lr:lr nwN:n )) llrtpl
                                                                  .f,pp-;-t]]) ID'N] 06;00 nlul -l:xnnn )tnnn
                DVJN)nl t))lnn rlDiT lfNtDn ):nnnt DvrN)n 05:00 D!91 ,18.05.01 ,N nt)f
                                                                                             ,ntnn).ll
                nN 't)f!n DvJN)n .D))01 \itn ntt.\n try -ttp-u)fn p)n nx ttNrDn !:nnn Jy w:,Jit
                n)n) ]r)) tl:Jp N) lnN pplD bNv/ )"1) - tgDnf o)))v/) \s)n nl]rn !y orppcn't trrutnn
               IlyjnNf DP):ln't ns)tn:t p)rlt D)l]n;-l 'ftr (rlut n)yjuNl \9)n t-.}))n rrx lstl)
               ):nnJ rtrn'l)r n))ro 1l:n ltt:n) 'lf)n Du,NJil ."rfNrnn):nnn )v; r:p:) l::-r>})px
                                          .)>.y) ltnx: n:p'a n:rl)t)un 1D)un )l)vJfnb ^TnN nN t:Nrnn
               xr:tn! )'If DN'r-Nf DUN)n )u trlr:n rNJ) Tf Nnnn )int:nt        byJNJn ,05: Jo nyw> J)Epl .14
                    ."tvrsNn ):) r.,r:1 o:u,)x )u oltt:) ottl) n:).t:: pllnun i)-lf Nrnn yl:rc nx hyl)
               ):nnnt nn)'rpD 1)n ouxrn .';'t:-)x.n))n^l ll)))g r:)n r:xnnn ):rrnnr DvJN)n.15
               ,)"ils nl)f l)nln Dv"rN)n ,,nl)Dl) nN"lND)r,, 'tlt)Nf .'l)..)lnN,l -tuE 30-l 1)n r:Nnnn
               D'iti7 n]p] 20-l !,1)N 1V/N n't'lfNnn yl)>g lpJ, ntnt)n 'ttt)rt Jt-.l;unf nrpn) lun tv_rr,t
               ):nr:9 tvJpnn lr)D bv,,Ntn .tr)rv./t"t)f l)tl!-lJn tlrl)t 6 )i7 ,11grr ut:tutN: 1:)
               rr'-)y otpD: 'l!!l ovJNln .lti)Nt ),,nt nlnt) tr)v./) )) nrtnN t]tn) t) "tt:xt TfNnDn
               D')iTEnu n:tt: u)n: TtNrDn ):nn: 11rJ-11p )rr;13 r)116 ;11 y)-l: -JN
                                                                                        ,)l)n ),nJ r)>>n
                                                                                                     .DV,/Mn           )..llnu)
               ,'")il 'rlNnDn ):nt:n ruNf ,\'ts)5n nN yDvl nrpr 5-) rnN)t otpnn nN fly     'lN DvrN)n.r6
               \!ln nlt)n rtx )>!ln l)lnN t!-l'lv.,,,r,nJ ))))n,l oJn>n) nD)) -lurNl ,).tfy,).InN,))t3
               1x) pt: ot:: x)t )nly lfNrDn ):nnn ;tn: n):nn ]run \l:)5D nNttn) .totr )y xu:u
                                                                                              .lnN D-rN
               nt!)-t) )'lryt )T,.\n Dy turp .]J) Dv,u:,nr)v!'))t N:PN_)Nt)un) ntpnnF y9l Du,N)n.17
               trv/N);t oy nn]u') xrpx-)N r:pt:) xtn lN ),))n )tnyt )'t,)n,lfn rnx) .nlirvj nn nt"t]N
                                                                  .'1:) ortpoxt-N ''!)t)Nt y'Pxg, nn )y


                                                                                       (l\rv 7.26t9/03.N.s) i r),rt] 91t

               il]ln)) ltnD)t rt]N-)!it 1:t: r:) (x)51 "1ry9 )t, nt)t),,n)llf: rlln tlD)-.1) :hlryttl tttiltl
               nr)n)) nt):y, rrrrnxil r)): t:-'] l:, {N)14 l.'yDl l9Z0-}!,u)n ,O7g ,Dn) {lnl}vr;
                                                                                                .   tg 6g- nt t Jvt n,(l,t-.utt1lJn)

               ,1:) ltnon ry],lt]N 19.08.01 D't)f r'1, ntlnn lnt -tll)Nlln,),,1n DUN)n :illt:ri.l rtr10
                                                                                   :   l)))il'' r'rlN )v: tntn) ;t)').Dt D.t)
               y]]lf, ]1P9D ,-t'tl lDnN Dy \r)t) ,1:) 1tt:u: tN 'I.|'.llnt rz00l )h) v.r-']nf                        bvjNln ..1
               ):nnn D), i-r-rpu nD nrrrN rrr rnnN) n]r)'r DuNln .DNDnn l))rN ,)'r)n        )v, yr)Nrln
               >: nv,rx:) IDD l-rl 'InnN .D'Ilpn Dtv-r)Nn u-.ltf ,tNlttur rlf ,)-py,) 'InNr)tn lfNnnn
               li? 0tl]\?'tN: tut) r]ltNnn yt))! y:]f,) Dt)n ]r)Nf r) ouxl) tor: x)u t)vr ntlun rnl.t
               nx tlr:ln 'lv.,N ,D)\r)Nn :: ovrN:) -]Dn ')lt rtrnN .or)u,n)t n)i!-.lJn il),1)t l.

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                  1)) l4 llf D]f lulNf, n)lfNnn yt))!,] n)n!-)sn n!r.l)f ),,)nrt)r!) o)-lti{r))n nr}:n)rlr
                          . .D))rx'lu,'n'lln$):ln v11613 r1r-)!'r'tJy) ,2001 ))'t) tJttnl D))vrt-.1)t )): t:11r yr;1
                  n:rrr:) ot-tlb n)]1)r nlTlNrn ),)))t ou !::) )-l) R.lp)l N.tJn) DtrN)nn \,/pr: 111 .r,rnn 2
                  ltrrN !i'.r .n)Nf,Jn ),rt\n u,N') )v tltD )!r nnp:: l"lNl] .l\rrgNn )l: ur:-r tl)v/lN >u
                  l)1'l) -1))l 1,000 )v"J nl:o ngN:) lDn 1'rf rlfnN
                                                                                 ,ltr.tr)f,,nl)pN]i7 n))xr:)r - DN):rnn
                  nlnli?En )-v ylt}] nU 1tOx5 )Tl f)tN-)n) yru:) ):rrt n:rni rr:), DuN)n\, )rf
                                                                                       .tllTtgtn $:rl )r):r:) D)D)Nnnn
                 n))frn r:t) lttnxn ftN lfl)rl )tn),t )J,\)l D!, DN-.1-Nl tr)!) D\rN)n ,01)n )ntN )v :"r!: l
                 )1n!l )l)u .pNDnn 1::rN )u r)N:r5n ylllr nn]))!! J.I-I)DD: clol) I.t1ltXnn yt:rs
                                                                                                                        !yr)
                 l!:f) )f, tur)hn )tnyt )-l,lDt DVIN)n .r'|llNnn ),1):' y1yr3) 0ryl113 ntptr xut:) n)f Dn
                )vr ontn) trt-l)) n)t'l)t nNil n'r!,pu] tN D)!'91) Nln gDtD]Nl c10ti ntr:rxnn lrrro
                                                                                                   .lugNn ))) n>:'t Drv.rlN
                 i'l-'rD,1r nr)v.r]"tr: -ll)D l:l-t)' )'tr),} )1,)b) DuiN)n,1:)
                                                                                          ltt:un't!ti)t ]N 10.0g,01 tr))l 4
                1t)t: tttrxr ,21,00 n!v:5 l]npr.lll)nnn nrrrNnnn lrtju!rt:r:) o)Nrll orpn NryD>
                Nrt) 2 rp !193 rr1;1rr v]f,lulNn l))nln )lnyl )-1,)t)r trl}N)n ,DD u)f)f, rrlp111lrr
                llfnl 0v/N)n .2 )i7 ptl]utNt 'l)llnbn nlTfNniln y)))! tlN tJ,J:l)                   rl
                                                                                                       ,) lUr)nn.r D)\r)N:l
                1:lt lpr vr) trv/NJ?u'tr'|))n nN|r 2'rp prlrurN nrllN )'l)llcllgN))1r)'r )'rr)lr )) )u))tr
                Hr1-1r ]N)'l! n))Nr:y - lD'l) DIN D))l )3 D\rN)n nN
                                                                                    l:ll, )tr),t rl,)D .t:: t.rv,ln) or)t:t
                !))U) -tU,N ,J'll))NtV/) r1v,,r1 n1rn1! DJ, 1)l )y:1 n)bNlvr) nln\ nTU'n N\!l) ,rn5111g;
                        .yuu) r:Nnt:il l:nnn n):tn: !r))p) ,l:.t .l))]nnn )n))!n !.x)l nxrp) lr>n
                )f -]uD ]VJN ,r1v1y1 )T')'J O!' ON']-NI ln'rrf vJ)s) bv,N)n                                         ltE')Nf,
                                                                                          J2,00 nywr ltnu,nunS n}r
                t';)p1311';r
                              1t)t:n rr)   ''l)lD"r:  ))  'lDD  )'ln),\ )'lr)lJ .z   ')17  r111,, ot:turN )y yrrn
                                                                                                                       lpx
                "-l)Nf' u]f )rf'lN )) lpb )"rn!'\ )f,)n .n)nn vr) nr:on rnN! rrnl nlxt:u, n)1! 2 lp o.tflDlN
               x) nrnu:Nn l)N ))r Drr,plJf Nln Nlnur zl:00 n)rgn mlupf )r1;1 ;11p1) yrln z rf
                                                                                               .),t)n n:nn: Nr] Dtilu)Nl
               l!,91 )lny\ )'rr))f D!,'Tn) DVJNIn ,1:5
                                                                ltXrpn ly)bf, )N r7.0g.0j Bl)f ,o)n) ]!uD -lnil)
               .pNnnn ]l)tN )v/ J])Nt!n !r)'tlt o!/Mil )u t.rpsn
                                                                                    f-i-rf lnnN tr), tr\, ]\r)9),t 1tr:n)
               u'!f 'lu)Nl nt'r:Nnn yuro yNr:5 Dn)lfn nt-l]N ".t-tl 1,cnN rN l))1), )lnyl rlr)nt DvrNln
               b:nt:n nN 5r:t;t! ):): -tuiN,)nN:'rur n)!Nr:r')vr tp]:t nlirN))] nr)urrlr:r r li: rr11y1,
               lvr D:rtrfrn 'lrNlJ nv't.rD n)n rlf tl:nN .n})xrvJ) ,')vr1.) rpnt) olr lrr-r:r rf,Nrnn
               ltts) r:Nnt: !:ntr onrSN n)v.n or:ttpn D)hrr )) 'lun] r']Jl!,I r.r,)D bur DvrNln
               ):n'n !,), rz: i0 - r2:00 rlvrn .,'rtiloxl'.]HiT'illlTJJii:;1Ji.'?:rlHll                                       7
               nx ntnr) t):} lt:nl DvJN)n onlr),lv-/ rtp l]!rn lun l)1 9)-r-llNt rrgn) rrxrt:n
               TlNnnn ):nnn nN l)f.ln} ]llnl bv.,Mn )! r: tut: trt .tDnN .)r,:n ;rNnDn )rnnn
               trf lnnNn vJp): tf v/N)n ,Dr,v/.t.t>f l,t,) ).IN.l nllf,vr: ,,.l)JtN,r, t:un) p>T-):Nl T)gDiln
               nN'r))vJ )-tJ nlr) lntv/-n                1:t n::) nsltnt l]nu u$)r rJf)1 -IrNrEn ):nDn r:
                                              '-l)nnu,
               r'r'r )f, rnNr n>)v.r)r:: nr):rn nru )iy     nrr)r 1,rclu rlun owxrl rpr:tlll'ln',i                            o
               ytrtl )u )ytc) nxstn 1rt:g 1l:n nrun              nN lr..}fnD r)rl'' )'Jn tlrr:]nn nrfn
               !")it -tlnun  p)nn nH .t1nvJ p)n Jtnt D:) 1ltp "lln: n't1191D N)nv/) ,5,)n n;:Nrnn
               n)n) )t nvtx:) 't)f on "l'If 'I)3nN .l]f 'InnNl p))n ]n]Nf t])l!'n.t lntll u,)1 Dv/N)n
               n)n) nl)f,tnn nlrnr )tr'rgu "!'11 lnnN,u)tt 9 5v nt))tp)nu
                                                                                  \o)n nlun) l:n) D!!r
               lp|) n)n) n)tun nvr ))l )'lt!j,l-N 1)ty'llr), r\);t \!)n n1l)nn!),,:n u::it n-l.li7vr D1ur"r
               )f ouN)n n!, ylpt tr))lrl)p 1)l)u :Tvrrh ')1r! slM )9)p-l) ))lu \lltl -1.t1 llnN "l)ilNu
                                                                                                   ,ll .ttl) .g
               1|llu rtr\'.r:r: ntlrsDNtr nll]]pD ugpu n]Ir]ln lnr)U rtysnNf, n)n) on)))f lvrpn
                                                                              .),,tn SJM-n )p)Utf Oy nr:.t),t!p
               'l!DN) )11N:111, n))xr:yt )'tnltt )lr)n !f
                                                              l)tf)1;r )tnyl .r.I,)D,t BriJMn         nlln Df"lTl .10
               t'l,:tlt )l Dl]p,l'!') )-IN'rf r,l)-t:N!,,, ])pD) tn)N l-l):y)) D)]-ltN)f, ,,1.)-.)lnn
                                                                                              ]:NnDn )rnnn nN
               c,]r)u)Nn nrnn )x ),,)n r)pDnn rfNnDn ,rniln nN l-l)r!) )nNflvj n))xt:yt >tnlrt
                        .'l):ltlDn ntif Nnnn ),)))a rtN Du/ I,yf ) lltnNnu nrr: )! ,!ry) rlNlntJn tp bv
               n))lnn'l'}fnt ''t'rf tDnNn ugpu n!,'r.)n,r'i7 n\rN)n ,1t.09.03 Dlu 0g:00 nyu'),z
               rr')tr )x J,un Dv/N)n 0g:00 n!v:)                                                  J.tnDf, -lt
                                                      lt)lgl .rnN TfNnD )rnr3 r)5N n)u rr: -rDnN ))
               ):nt:n nN ltuN! p'l-t:N! )nNf-ru, n))N-i:Jr o! tn) nxs) ltrnN) n-t]it,t ).tn!l
                                                                           .)ry) nrxtnnn n)lfnn r!) tsxnlrn




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                 Dr)n nttp nN DUr h)i7J D))!r]'t) nllUl ntrltnn ntfn )-r-t\r):) ),9) lFry nvrN)n.12
                n)'l)ur )lnyl )lr)tf )v t>ltn n)l) ,'p) nvlN)it .'lllln)3 111 lnnN )'I)-)! 1))N nnrvJ)u
                            .p:l)n nlli, ll'lf n-trlptD nn);-]ur \!ln ntl)u nN ov' N)fnill D))v/'t'))l I'1,) )'tN]
                )rlNf-l!, n)rNTl),1 Hln )f D\rNln nN l).Iyt,'r)n ))-.l,lat n)f)),))n )tn),\ )-1,)D rl)D -tnNr.l.l
                )T')b) "lu,t D\rNtn,ilr) )TNlf 'nl)B) lnlN ]'l)tynt t?)'I-lfNf 'rfNnDn ):nnn nN tloN
                                                                         .)',tn \9)n nll)n nN N)tnn .lf)n )ln)tl
                D!' DU, \1/)t)l \t,) )-IN'lt,,lr-tfNy,r -I)Dn) ),))n OVJN)n,Bl);-.1 ln]Nt 14,10 nyv.,) JlDVl l4
                1X'!ny/ )!) DV/N)1 1-tln ))V/ ',1',,-ry 3tt, Nf 1n 1u,N ,(-lfNnpn ):nnn ,1)n)) pvrn rNxr
                lnN) .n))],tn) lrxt \l:n rl-r])n rN p)rnn, l)N TIND)n ):nt:) lr:un oux:n .5;!r)
                ):nnn )u lnv;r:l r:l) rutt )-1,)n .rtN ll-ryt )'lnyt r't,)D )\r '))'|'ln tl)r) trn ouN)n ,'lfD
                -lrfv;t DvJN)n .l) t)rynu/ \!)n ntt)n nrylnt )ultN)nn
                                                                                       llD)Nn nt'r]N llt rlNnnn
                                                              .11:;r nrt:n) nlr)lgt nN t:n) l)N )-uyl )'t')n,
                ):nnn nN l^l)fy) )ltnf'lv, n))X.l:, D! 1n),})fnNn )f ).|n),\ )-t,))f Dli tlf)g trUN)n.t5
                llrnn r)>\, r'l)J) )nNflui n))xrr! )y -lr:Un    t::r: ttyn rtyul \5)n ntt)n try rn) -rf Nnnn
                n))NTf!, )lt ltf nXn )!       r) :tn!t  rl,)):)        Dg,NJ;r .D))U)'t)t 1 ,Dn U)tfl tr)91111,r
                Iltry,'))nN Ntn flrv/ D)f,tptNn n:nn )y rfNnFn ):nDn r:g: y)rjn> )nNf-tu
                D)v/JN )v, DrllD, Dt-]), n)l])f liflnnn rt'TlNrnn yt))! nN t: y::)t z tp or:tutx)
                                                                                                      .'1\l;lNil ):: nr:r
                ):nnn ,'tfNrDn ):ntrn Dy !r)$)t ,l)JfN),,, r:pn! :tur !))i't ou,N)n l8' l0 nyv;! llDDt.16
                r)rtp r"1>-)y J1T: n]3),1 -lv,;N ,rl))tnr D)-I-)f N) JltlnD y))n )f D!rN)n rN'lliy llNnDn
                ou,N)n .D))f p)lnnvl nltnv/n n5)ln nN tHyn N9t ifNrnn ):nnn nx liltl Nrt/ ),'nJ
                n))N't:yt )-ltt!,\ )'t,)D f:pD) tr)N l!')J it),n n)>ln tnX) )) llNnnn ):nt:) tut:
                nN lu, ou'N)n .'ljf'lnDn r'l'rlNrnn !'t)rr r'tN yrf) tfu otpn) tntx tr)f t)t )nN:"ru
                                                                .DNI-N: ur:) llrl'r 19: 00 n!vr) llDDf 'I)pDn
                D"')sDpN l)-t ,1ltnNn )v.l 1::t: t!))n )nNt'tvJ il))Nll!) )'tly\ )'1')D ,20' l0 ny\r) J)EDI.1l
                )nNf't!, n5)Xf:!t )"ttlyl )T,)n ,l)r) )iNlf, r,l)t:X)r,, "l)ppl ,t)))N''!V,r )lU,)'l nl',nl> try
                Df-.t-tt .D)rVJ1)t 1 ,Dn yl)l)f Nt)f,)n r)p1111rr .1t)n) ryott lfNnnn ):nnn nN tgDN
                :]g' t)rDnl )ry) nrxtnnn 1o:n nttrn) nlr))pn )nut nN -'ll)n )llyt )1,)u ,r,')it Dlpn)
                1t)n) ltnvn I'|flnlil nn)sf .15)n i-,'rlln nN D)))j,!D l)N lfNnDn ):nn) nlo
               )u n:nnn )y rrNnnn ):nnn ))tr )y)lin )nNl-lu a))xr:yt )-try\ )-I,)D ,)p1311,
                nt)y) 21,00 n!,u', J)bu]t n-]tDNn n)nfir ]tnp;1) 'lltnNn rN tn)n] 2 )p ttllptr D'rf]u)N
                ."lu,!Nil ):: nr:l b)t/)N )v/ nntn) olt)) nln)r \r)n rt])n nN ,)!rsir)l 2 )p olr"tulN)
                r1rlp ,)il1;1 g]ttu]Nn t)nn -ll!r, ]f't't rlN nv/!'l Drf't nN luj trNnDn ):n/:nv; ny:
                                                   .1tlnNn )v-r t::t: DlpnnD tD)Dl )nNf"lv, n))Nr:u >rnyr
                ,-lfNIDn     ):nnn    ,Nrrtn  )N]l:Y-r fln'rl I 'Dlf v.,)f)           il)hn3 ,21: 10 nyvJ> JlDgl .t8
                                                                             'l))gtvJ D)llUlN) n)!r ,pOrn rNX^t
                O)-tl)f DtplJ DgN ry N))c n)n lV.rN ,2 )1r r'11prr )illgE-.t^t
                ottl) n:ltt: nNtl rNv,,) tnlN ,n)fnn'lypn nN )tylil trNnnn ):nnn pg .pr1!t1 5rgrl
                                                                              .tulNn ):: o)f -l tr)urN )u oltn)
               ))f D)'r)v/r D)-lv"r!'t)'ln) ,'llDNn nlrnn'1!un D! lfNnDn ):nnn nlysnJlil}3 nN3)nl"lt
                                .]DJ)l TlNnnn ):nnn )1n) ,]f 'lD) .D)Nln Dlvr)Nn )\r15t .lNlrl)u, )sf ,o'tN
               t!y)\rr Jtt)ln tD't)l lt):xn n):nn lypt] D), lfNnnn )rnnn                                           nNjtn).20
                                                      .DrNfn nlYr)xn )u131 'lxln)vJrgf,,D)!9'lJ 'lr::tgnnD Du'l D)\,JN)
               1n,u,'t:]) f"l pl) D1))'l))lNn ilhnn D,\]D D! ltNnDn ):nnn ntvvtcrnD nNJln).21
                         .\]J)!n I}!,f "l'lDNn D"|l lulN) J)DDf l)nu, D)11 ll"I )), ln ,r,,lal tt111tr g111p1y)
               ,nrl')lft D))u 37 Ilf, ,)"1 1, i-1119 )u nntn) n)iltr .|),DnDvJMn D'l),r)yt D)-lN)nhn r])uyEt .2?
                                                    ,)>y) rttrx: n)lnn            nlJstgnnlr itNt'|t) ;t)ln) lvJN
               'lt'tnNt't nN lt"Tll DNl-Nl DvJN)n )v; tnr:? ),!ln )1n),1 )'tt)D ,l-tyn rt),u,f, ,ntnn> nl).23
                                                                                                              .t)urJ,D )t))
                                                                                    .19,09.01 Dt) f^tyf
               'r]Nb ilJt^lu n)n l1l 'tnnN .t'tl 'tDnN D,, ou yJ)!)'l lnrn) y)ln DvJN)n 21.08.03 D])t ,24
               'r))-r 600 Durx:) prly;1 lN] )yl!) lNtsln l)')lnl DuNnv, nlTf,Ntrnn yl))! nlNs)nn
               t))1 400 nN 19D] -t))'1 200 rn:y) -Pxun nvrN)i) .)>y) txtnnn yl)lln ll:y n)rn) ))'1'1)
               .):y) rNlnnn ntltNnnn yl))i )y/ )yp) nX:tnn t1:! nl1nnl )-lJt),t )'irln )-t), D)9Dt)n
                                              .)nNf1v/ n))Xr:y) 1J)-1 200 -l)fyn,
                                                                                        .r.tnjjl ),t,)D)
                                                                                                           illtn DvrN)n




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                                                                               0rry 22619103.N.o)             : rvJtt)n   t,1!
               n'ltn)) l]nu)f tt]Nln tl-I: tl) (N)Sf .1ryp )9, n-.l)t)r,n)l))l nlln nD)t) lnlrtrt nlitl
               nTln)) nl)f),) Ilr>tnNn r)): r:'r: 'lt) (N)14 l)yet 1970-r,,vn ,(378 'DE) {]'}ln]v/nt
                                                                                            .   1969-n,,fg,n,(1t1ntv,/nl

               ,1:) ltnon -ty]'rf lN 19.08.03 Dt:f ,t) ns)nb ln'| 1t\)Nlln,b,,)n ouN)n :itlrtyil rui!
                                                                                   :)j))it1 r'lflN rYJ]nlD) n)]'t): D1)
               ,)"1 grrl bnlJv nrtD) n:l]:: D1),ryr11;1 tr]u,)Nn Dllf D)"lNtnDn r)uynf ,),,1n oy/x)n
               n):nn lluD Dl, llNnnn ):nnn tl'xs]lnnD nNttn) D1il 'tuN ,nn)Df, D))v, 70 nl
                     .)y)r']n Dly.r)Nn u'lg: lN]nv,, )s) ,D))v/'t"l)t xl::n )xlDl/t iln'tr 2 'r'r)N,' 'lir glt]ulNl


                                                                                   (lltY 225t9/0] ,N.o) r tgtu t,1!

               illln)) ]lnu)l nlN^'l)n t:t: t:) (N)51 t)yp )5) nt)f!, ,n))tft tt,l)D nD)1) ti11rt!,it nlntt
               n'rtn)) -l)f)r) nt>lnNn r)): r:r: )t, (N)14 l)yg] 1970-),'vn 1378 ,eD) ('!"tDtu,n]
                                                                                            .1   968_n,,)yjn,{.1.1,.}Dtg,nl

               ,1:) ltnon rytnf tN 19.08.03 o]u rl) nttnD lnl l'n)Nt lD ,t,')n DUN)n inl)lrit t915
                                                                            l)))nl ,1nN ru, tntn) n:D:r o1:
               ptlnr nlrnn )u nntn) i"t)"t'tfl tr]) ,)!rf,'ln D)u,)Nn u't!l D)lNlttt:n l)uynl ,),,)n trvlN)n
               n):nn },t:n DylfNnnn ):nnn nt:vtcJtnD nNrltl) n)]il'lu'N rnntnf, D))u' 2.5 nf ,9rl
                      .;y)f,tn OIU)Xn Ul!l tNlnyl )!) ,D))VJt"l)f, Xr:tn )XtnUt f1n.1l Z ','t)N,, 1P Dll19'tNl

                                                                               (ltY 226L9/0t,N.!) rtlrtl9l u1o

               nlla)) ltnu)r tl'lNlln t:r: t:) {x)st Tyg' )!b n"t)f,y ,n)lt)t tltl,J nD)l: iilt:rrit
               il.ttn)) nl)fy) nlrtnNn r)): t:T: tr) (N)f4 Tlpt l9Z0-),,U'n ,(378 ,Db) (]t"lD]Unl    'l'li'lb
                                                                                           , 1 96   8-n,,)U't],('lllnlllJn't

               ,'1:) ltnon l),ln|lN 19.08.0] Dt): ,l) nslnn ln] 't]\)Nt ln ,),,)it Dv.rN)i') !itttSl,it tuls
                                                                     l)))ilT ,'|nN rV./ tltn) n:tt:: olr
                                                                               :

               otttr bv; nltn) n:t't:r D1) ,;yr31n trtv')Nn D"t!t tr)lNln,an 'l)v,tyDt ,),')n buN)n
               trlt 'trNr)]n ):nnn rtJsllnnD ilNrtn) n)-ln) lvJN ,nrlDf, o))v' 20 n: ,>rt lttug'$rtN
               D]vr)Nn ulll    'tiltnv r93 ,6r)91113 xrr:n !x]nv"r tr]nlf, 2 ,1)N,,'!P 9]]]lllh{l n)rnil]yuF
                                                                                                                   .urtf'ln

                                                                               (lry 22619/A3.N.o) !t)thu uti

               n'Ttn)) '}]nu)f, n]Nltn "l:-n ]!) {N)51 cPyp rl) nlr:y ,i-})'l'Dl rl}n nn)'u ri'ttttJril tl'}ilh
               n'fin)) n-t)fy) nrrlnxn ))>) 'l]"tf, tJ) (N)14 l)!D't 1970-),'un ,(378 ,Dn) {]llr.tvJn]
                                                                                    . I 968-n,, f VJrt,0tlDt v/nl




               ,1:) ltnnn'T!'tDf ]N 19.08.03 D])f ,.}, ntlnD lnl ]]l)Nrln,),')it truN)n ihlrlyit tut!
                                                                          : l)))n'r ,lnN ru tnln) n:I:t ntr
               'rJrlt tN)t t, )y tltn) n)]D3 D1) r)!,)f-tir tr]y.,)Nn utgl o)"lN)rDn t)vJtnr ,),,)n truN)n
               n):nn 1!un Dy rf,NnDn ):nnn ntlvtgriln nNJlnl )tn) 'lg'x ,]trlDr D)lv./ 50 ]r ,r/t
                       .)y)f,ln DIU)Nn U'pt'lN1nU r51 ,6r)91111 X:::n lNtDUt f,lnlf 2 ,r't)N,r li7 g1f,;U1Nl




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                                                                               (l\rY 22619/03.N'!) I )Ylutn 1'15

                                          ll, (N)51 l)jt9 )!) n-l)ly ri-lJ'l'lll tlllD nD)'l):ill':yn nliltl
               nTtn)) ]ln\l)l r]lNllil "llll
               r'lt\n)) n1)t),) n))lnNn r)): r:r: lJ) (N)14 l)!pl 1970-t"s'n ,(378 'Dn) ('.|11D!VJnl
                                                                                            .   1968-n,,f v,n,(l't'tDtu,n'l


               ,1:) ltnUn T),tnf tN 19.08.0] Dltf ,l) nJlnn'lnl l1t)Nl'lil ,>r,)n DV./N)n lil'ltltil
                                                                                                                     t91D
                                                                                :'|l))i"lT,lf]N )p tntn) n)ll:l 01)
               ,r,'l r5r, on:n )v-l lrln, il)'t]ll o"1) ,ryr1-1;'' alvJ)Nn u')!l D)')N]n|:n l)vJlDf, ,)")n DUN:n
               D)t1DtNt n):nn l)rDF ny 'ttNrtnn ):nnn t]JS]snn)l nNv]tll )1n) lUrN ,l}tlnf D)lV/ Z4 ll
                                .)y)f'ln D'|!r)Nn ulgl lNlnu' r93 ,5r)p1T1 N)l)n )N'IDV., f,]nll z 'rJ)N" lP

                                                                               (lttY Z.ZLL9/03.N.!) : t'l)VJY t,r!

               nltn)) ]tnD)tr nlN'l]n t:r: tr) (X)5t lryp )s) n1)ly ,il)l'lff nllb nD)]) iilltll,i nlirr
               nltn)) nt)fy) nl>tnxn )))l 1l'11 15, (N)14 l)!Dl 1970-)"vn ,(378 'on) (ll'lDlvJnl
                                                                                         .      1968-n,f )v,n ,(l'tlDlVJn )


               ,1t) ltnun TytFf 'tN 19.0S.03 tr])f, ,)) nlln,l 'lnl l]l)Nl ln r),,)i'l DV.rN)n :iltlril
                                                                                                             t91t
                                                                            'l)))il'l r'lllN )u  tntn) n)llfl trl)
               trlttJ ttlttl ,U, ln]n) il)]))f  tr^t) ,)!rfln O]V/)Nn \11!l  O)]N'lrtDn     l)Vr)tD:      DVJN)n
                          -rtxnnn ):nnn n)Jllgrfln nNl)nf )1n) 19rN r1rlnl b))ur 47 ll')")n            ,r"l !ltt1
               1yun Dj,
               D'tgr)Nil u]sf  "lN'lnv' r93 ,6r)9111)l   N)l)n )xtnv   :tnrr    2  "J)N"     tp ot:tulx:   n):nn
                                                                                                                  .)Y)l''ln


                                                                            q|\ 22619/03.il.r) : tu!,-tnN ult

               nT,ln)) llnulf, nlN.tln.lt'lf t!) {x)51 lryo )9) nt)fy,il)'rl)l n]}ia nb)'l) ii'll)fl,il tllilD
               nrtn)) n^'l)t),) nrrlnxn r)): r:r: 1!) (N)14 l)yu) 1970-)"vJn ,{378 fun) {'l'l'ltawjnl
                                                                                        .       1968-nf 'lu'n,(ll'1n1VJn'l


               ,Jf) J))f,pn "ry)Df 1N 19.08.03 tr1): ,1, nylnn lnl'll\)Nl ln r)")n OVIN)n .ilt:l,lr D"l)
                                                                                                                     t91D
                                                                           :])))n't ,'!nN ,VJ lIlD) n)'llll
               1: ,)"1 b)F lltn ,YJ lnlF, n)llfl D"l) ,ryr11;1 ulvJ)Nn Dlgl
                                                                             D)lNlnEi] Dv/yDf ,'")n trv-.,NJn
               ip ut:tutx:   n)tnn   llrgn By 'tf Nnnn  ):nnn  ntiJ'lgnilD itNllJt)  )-ln) lvrN ,lnlnf, D))9' 65
                                    .)y)fln Dlv/)Nn u'l!: lNlnu )!)              Nr::n )Ntnu fln"tf z "1)N"
                                                                          'D)rul'l):

                                                                          ()1r9226t9/0r.N,5) :19r!-t')u trl!

               nltil)) l)nu)l n)Niln "tl'rf ]y, (x)5t 1ry9 )9) n1)ly,nllJfl nllD nb)) f9n)ti'llt:lri| nlilt!
               ;111;1r) nlrl!) nlrlnNn   r)):  r:t:  ]s)  iN)14 l))te't 1970-)t'vln ,{378        ('l1"1Elun'l
                                                                                        .    I968-n"f,Un,('l't"!blV/n]

                                                                                                                     tut!
               ,1r) ltnUn "l),)1:f tN 19.08.03 D"t):,1) nl'lnn'ln1 llt)Nl ln,),,1i'l DVJN)n :nl)ll,il
                                                                         :l)r)il1 rlllN )u tltn) nl't])f D'1)
               ,X,!nVr-trN )U  tntn)  il)'l'l)l Dl) ,))t)lln OIU)Nn U19l o)^lNltllln )UrDl ,)")il trU'N)n
               'lyuD oy'IlNr1nn ):nnn ;11llllnnn nNllns )1n) 1vlN r1llnl D)ulln 31l ,)"t tppl't?l1
               B]\r1Nil ulll 'lNlnv., r93 ,5r)gr11r1 Xr::n )xlnvr llnll 2 "-I)N'r lP ut:tutil: nl:nn
                                                                                                     .)y)lln




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                                                                            qtt\ 21619/03.N.o) | 1vJ!-n{Jltvr 9..rO
                ;-lTln)) llnu)f nlNlln lf-if,.]J) (X)5f 1:y9 )9) ntuy,n]]ff rl)lD ttD)-.t) rilit:!,i
                                                                                           tllilh
                n'nn)) n'l)ly) nrrrnNn r)): l:-l: lJ> (N)r4 l)!p) l?70-),'vn ltTB,eE l]r-rhlunr
                                                                                                    .   1969-n,'f utt,(Jlrntunt

                ,1:) ltnon ry'ruf )N 19.08.03 Dl)f ,r) nJrnD ln'r 'llr)|.1r ln,),,1n DurN)n:i,lrflri roii
                                                                          :t);ril'l ,''!flN )u tntn) njl'Dl Dl)
                ,rrVJl}il )v/ nntD, n)11)f o1) r)!)l'ti-| Dtvr)Nn u..,tot D)..1N,|1lon l)u,),Dl ,),,)n oUX)n
                1!,9tr Dy lfNrnn ):nnn n)ttlgnnn nNs)nf n)tn) lurNrilnlnt D))vl 16 \) ,r"l rtJt1g,D
                t]lu)Nn U]!l 'lNln\l-, :51 ,6r)911111 Xr::n )XlbUr lln.ll Z r,.I)N,r ]p g]:]UtN: n):nn
                                                                                                                          .)Jr)f".ln


                                                                            ()ltt 216t9/03.N.o) : ltjr-it!,f 1N ulo
                nllil)) l]n\))l nlNlln 1:l: ly) (N)st lrygl )!) n-.})ly,nlilfl nltn iD)-t) ri.l,rrtl,i nli|t:
                flT);t)) n'r)l)r) n1llnNn :)): t:t: 1:> (N)14 l)yg1 1t70-r,,vn ,(t7B ,Dn) (lnnrv.,i-rr
                                                                                                .   1g6g-n,,lv.rn,(l,t-t'a.t\r,il.t

               ,1:) ltnon l),tbf )N 19.08.03 tr.t)f ,.t, i-lttnn.lnt -.l.tl)Nl ln,)r:il ourx)n :ilrttil rg,r!
                                                                             :t)r)ir1 r-ltlN )v/ ulb, n)I)f, B't)
               f,l 'ttVJUt SVyrrV tntn) n:tt:: Dl),ryr11;1 Dlu')Ni-t Olll D)lNltt)an l)v/!,nf,,5,,)il DuN)n
               'l!,t]D Oy 'tf,Nttt3;-! ):nnn rl]tJ]9rnD nN$nl )'till "tux
                                                                                ,lntDf D))vr 50 ll ,t't 1.Drt
               D)V,,)Nn U19f lNln\, )9f, ,O)rurl't)f Xr::n )NlnUr ftntl Z ,,T)N,, ,lp ptr)ptX: n):nn
                                                                                                                         .)y)fln


                                                                           01rs 22619/03.x.5) : 1U'!-i.lUrhh                 gtt
               n'I]n)) ltng)l ntNlln trr: ts) (x)sr Typ )!, n1)$,,iDl)t     nn)l) rillrJti.l ntnh
               n-rln)) nl)l),) I)nnNn r)): r:r: !J) (N)14 l)ye'l 1970-t,,ul
                                                                     'l'ltD ,(jZ$ ,enX,prr:rv;;-rr
                                                                                            .   1g6g-n"fvJn,0.l-tD)unl

               ,1:) ltnvn lytE: lN 19.08.03 D't)f ,l) n:tnn ln) -,t.lt)Nlln,),,)n DuN)n :ilrll,il ru.l!
                                                                      :ltr)i't-t r'thN )ur tntn) n)11)f 01)
               ntln flbn) )U nnm) n)ll)f Dl) r)!)tJi-t D'tVJ)Nn u1!: B)1NlnDn l)vJyDf, ,),,Jn DUrNln
               'lyu)3 Dy 1lNnEn ):nnn fi)svllnnn
                                                    nNslnf, n)"ln) tuN,nnttff tr))v-, 19 nf ,t/t lsrJtt
               D'lu,)Nn u15f -rNlnu., :93 ,6r)y11r1 xr::n )N)nV In'll 2 ,rl)N,, ]p ut:tutX: n)rnn
                                                                                                                        .)y)fln

                                                                           (lDy 22619103 .il.r)              lVJr-n ulu 910
               n'Iln)) l]np)l rl)Nlln lf,'Tl]i) (XlSt .1ry9 )!) n-l)ty,n))tft I))n                            rt.lrtrit tltith
               nr]n)) n'rlfy)                 :))r rrr: t3> (N)14 l)yD] 1970-),'Vn '|D)'t)
                                                                                   ,1378
                                                                                           ,uD (lnn.tu,,]l
                                  'lrrrnNn                                                 .1       g6g-n"f vJn,('l!lD.|un.l

               ,1:) ltnun 'ty]Df 'tN 19.0s.03 Dl)f,,)) nJlnn lnt ill)Nl ln,)r,)n DvJN)n ritrtli rgis
                                                                              : l)''rilT rlflN )u tntn) ;'l)l]f,t o'l)

               \111u yJt, lu nnln) n)t1)t Bl) r)!)f1i-t D'tur)Nn u'totr b)lNlnDn l)VJyh3 ,),,)n DurN)n
               n)rnn Upb D!, 'tfNtlnn )rnnn ntsylonnh nNytnl n)..In) lufN rnn.)taf D))v./ 54 n: ,)rl
                      .)y)l-li-t E'IUJ)Nn Ulgf,,.lNl1U, r53 ,gr)V,11r1 N)In >N.ttalC,, f,lnlf Z l'I)Nr .til Dlllp.tNf




                                                                  I                                                  1570/0j n.n




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                                                                          ('l)rt 12619/03 ,N,!) : tV.'r-nv:vj uls

               nltn)) ltn\:))l nlNtln tlTt tJ, (N)5t ltyp)l) n'tr:)r,it)lltt nt)D tl,l)"]):it'ltf,ri] ttlitr
               it"Ttn)) nt)ty) ntrrnNn r)): t:r: ]J, (N)14 l)yDt 1970-)"wn ,(178 'Dn) {lt1D]Utnl
                                                                                        .   1968-n,,lvrn,(llrntvnt

               ,'Il)'I'tDDn 'ry'l).lt lN 19.08.01 Dl)1 ,1) ;1:1n13 lnl'tl1)Nl 1n ,)")n oYN)n rilttJrn t91D
                                                                         ,'|ir:nl ,1nN )v/ ln'tn) il'l)): tr-l)
               n1r\, >v nnttr) n:tt>l D1) ,ty)ltn D'r\r)Nn u15f DlNltll)n l)v-llrnl ,)")n BvN)n
               lyDD o!, 'If Nnlln ):ntrn rllJsllnn)l nN:ltlf n)1n) ']vJN ,itllllf D))v./ 44 n) ,r1',itPpl'l?tt
               D'lvr)Nn ul!f, lNlnv, ttf ro))v,l-ttl x>r:n ,N'tt:Y-i lln"D z 'r'I)N" )P pt:tu]x: n):nn
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               n.I)n)) 'lln\r)l nlN-1)n t:t: l:) (N)51 1ty9)g) n'l):y,n)tllf nllD nD)'"|):illt:yn lliltt
               ;111i-1r)   nlrt!) nt.,rnxn )))) ')l-rl lr) (N)14 q)yD'| 1970->'twn J378 '9D) 0llDlUnl
                                                                                        .I   g6B-n,r)u,n,('111)clu,nl


               ,l)) -ttD9n lytr]f lN 19.08.03 D])f ,1, ns)nD li-t'l lll)Nlln,)")n DvlN)n:illttltil t9'1o
                                                                        'l)rrnl       ,lnN )lll rntnt a:rr:: o.1)
               yl)to ,v/ nnln) ilJ]]fl bt) ,ryr11n BIYJ''Nn ulSf trllNlnDn         l)Yrl,Dl ,)")n DUN)n
               '!yun Dy 'rlNnDn ):nnn nlvJllnnh ilNsltt) nllnJ lvJN ,nrllD: D))V.' 5t n3 ,r"l tP!!)trll
               DlU,)Nn Ullf "lNlnl0 )51 rD))V.,l"t)l Nrr:n )X]):Vl lln'll 2 ,,'l)N'r ]P U't:)UtNf n):nn
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                                                                         (llf y 21619103 .N.5) ilY{:itJ,Vr.tt_u-l!

               n'r)n)) ]tnu)r ntNt)n 1l1r l:) (N)5t lryg )t) nl)l!,,n)l]ll tll'lD nD)'l) !ill)fyi n')i'lh
               nr]n)) nt)ltr) rr>lnNn )))) 111: 'N) {N)14 l)y91 1970-r"YJr ,(l7B 'DD) ('}'1"}ulvJn'}
                                                                                . 1968-n,,f urn,(lt'tbttJnl



               ,1r) ltt:un -ry)D: ]N l?.08.03 D]''l ,], ils)nD lnl  ' lll)Nl'1;t  ,)")il DvJX)n :i|'lt:!n t910
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               tJrg17)l ltt,rt1 )v; tntn) n)1tfl D't) ,)!)f"l;1 D1v.,)Nn u-193o)lNlnl:n t)vl)rDf, ,r,,)n OVJN)n
               n):nn lyun Dl, ^r:Nnnn ):nnn nls:lsnnn ilNlln) ).tn) lvrN ,]n]n: D))ur 42 \7 i'tl
                       .)),)l"ln DtvJ)Nn U"lgl lNlnv/ >!) ,O>)vl-]r: N)f)il rNlDu, f,)n"ll 2 'r1lN" 'tP Dlf lu)Nl


                                                                              (l\ry zz6t9/01.N.5)        :   o)lut 91!
               n'Itn)) l'tnD)t ntNlln tf,'It lJ, (X)St .trlp )!) ilt)t), rnl)lll n]]D nn)]):?]l)tlri n)ilt)
               n'tln)) nl):),) ltrtnxn )))) r:"ll ll) (N)14 l)yD't lt70-)"Y/n ,(178 ,Dn) (l]lnlv/nl
                                                                                       .1   g6g-n,,f v.,n,(lltntu'nt


               ,1)) llbDi-1 'rylDf, 'tN 19.08.03 D])f ,1) nJlnn'ln] ]]\)Nlln,)")n DV/N)n li'lltlyil t01t
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               tlxll lltJ )v nnn? n)l])l o-t) r)!)f"lil olu)Nn i]')Dl D)'lN]rnn l)V/yDf, ,)")n BY/N)n
               n)rnn p;ul: Dy -rlNnDn ):n):n nl:stlnnn nNslns n)'lil)'lu.rN ,nrlbf D))u 22 nl ,!"1
                       .)y)f1n Elvr)Nn p'lif 1Nlnvi r53 ,pr)y11;3 Nr:)n )Nlnu f ln-'ll 2 "J)Nr' lP 9'lf ')l.]1Nf
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               nlln))]]n\).']nlN..l)n]f,'If]J>(N)5r!)}'o)t,i].])f,y,n)].}f,.fn]]nnnJ,.l)iill}:yi']tn,.l
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               i-,rr",rl nt)ly, n,'-,nni ,>>,
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               ,1r? ltnvn lylE3 lN 19.08.03 ol:f ,]5                      ,1ir>;1'1 ,"1hN )u'  lnlls)  n)tlfl
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               .rglN) rtrltr )ur tntn) n)llff D"l) r)!)lJil OlVr)Nn U..lll D)]Nlnnn                 ')1')n
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               nNylnf, !,t3)Vl nty)J3no no,stnr' 05.09.03
               xr::n )Nrnu.r llnrr z li11'l'iir*'ur:iurx: n:rnn      lvun Dv lrNln-1:l]nnn nll]llnnn
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                .ltnurf n]N'l)n trt: ts) {x):t Tyn ]c) nrr:1 ,1:ll)l nllD nnrll)'tl)D)) :i]ltlyil
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                nr::y) nr)tnNn >)): t:tt lv, 19-l (n)tc o'o'voi 1-970-lb'vn 'Q78'vn) nllnlv'nl i'l1)n))
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               zz cl)yD )t) nt)ry,"ruN)l ll)y, uttv/) )y,l nl)l\, nltly'r'|ly)'rvP r-l)v/P ri'lltt)'n nlntl
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                y.t))t !,.1!)f, n)NnD DlPnn r: ]u>)nn             )"'ln!t\ )"1r)D'l DU'N);"]                lrrrl:n rtx) 'DlU)'llpDn
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                ntl:) rnN D-lN tr! :]vp ,11)J]Dp]]N 2003 l)tl 9|1]n]  '".}11)Nf '),,)n D)Dl)Nf 1N n1ll DlN
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                                                                          'vxnnn l'tt-T.)-'tr)N::i'l
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                o) lt]s )rr13 511351) ')xlurr N))-rnr: o)itlnlDn o'!tup)o tr)"])PN
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                  rr> '(H)51 r,ve' 1e68-n          'i";ii",,r:;,'oi.i!Arxullfili';*i;iil,i:i*]iJ'.Jl:
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                  )!,1))i yll) 'l))n )-tn)tl 19N'y/! nNl'lf
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                                                                                                            -1"9'l 8
                  ornt):n   + yt-t)N tl'l)\f, n9\) 11N)n eil\l                                         'Jn:'l)1'r
                                                                                                        [Y']-1'tNn nl)lD
                                                                                                        l)tN l?
                                                       fnrly! n"l"t v.,))Dl 'o-) D"nD ,]555 'N n 'n1]1) N))v
                                                                         n):n   nl:yn "*2421 'N D            '10
                                    fo))slD) )Nll) DglD vJ))nl D-) ltls                           'N!L
                                                                                                        1l)y       261 /03 .N.!

                                                                                           **4522
                                                                 - "),'NUn ,il)ln nt:!n               .X.n ,)'l!') )N)-|N ',11
                       fltnrot nprlnun))!9 n,,trJ .o>)Ur]t']



                                                                                                                        r570l01 n n
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                 f-) J,l-t)Nl )llrU rUl$ ll))"1 DllU \r))DJ .n)-.llit )ln)t ,*'*)607 .N.13,i"l))r)f,U U']t)N p,,91 .1;
                                                                                                              lD)Y)g)
                              [n"])ll ngu -tlN)n )D9u ct))u] ..|1)J 3,,1n,**2127 .N.]1 ,11r'11 1)f{r) ptr51 .13
                             In-]tlf ntl) "]'tN]n )t2!\] 9rt)bJ .n']']l13 5,'lD **'o1059 .N.D ,r9)11 D)Dl'lt'D-l .14
                                f;t'])lt ngl) 1'tN)I] )D5U U))DJ .'l1)J 5"}'f ,*"',?341 .N.n ,n)l',I )fN l3"O'l .15
                                                                   .yu)5n          IIN nll),nnn lN-I)l nlD)P 2 .16
                                                                             'l-t\ nt)l nN nl'rl'|nn nl)]bn.i7
                                                                            .y))rln
                                                 .PD)U ]NNl - ]lNrDn ):nnn 9V; r',)nN)lS" - IN'l)l IUrp.tS
                                                     [!:s] ,nrN-t l),1 R"d""t"d)iz] .t.n ,t)l'll ln)J,v.J) DnllN .19
                                 tyl$J ,D1:lD]Nn Jlnl n)n ,n)N"l lyJRedacted50zg .\.tl ,l))D9l)'l) trl)\r',20
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                                  ln),s!l ,Dll"llrlNn l)nl ntl)n ,n)N'l r't!J Redacteoott5 .\.n ,:311 n)])1 .22
                                                        fyl9) ,n)N-l ]],J RedactedJ?99 .\..n ,v-/)'rP n)),vJ l']!nY/.23
                                  [nytg),D]f,]glxit'l]nl nn)n rn)N-l 11y;,Rd""t"d i706 l.n rl ll)Jl) n)n .24
                                                                                                   .


                                     [!:9) ,plf,]ulNit lln: n]n ,n)N'l.lyl .Redacted4+92 .l.n ,lliln) n))nD,z5
                                   [!rl!) ,pl]lD']Nf n)n ,n)N^r lyJ ^"1""'"01695 .l.r ,)-'lrju)1 Dir"rlN t)T.26
                                            ID]:]U']Nf n)n ,n)N'] Jyl .'^'0""t*!042 .I.'l ,l'tD))p D))n'l'l)Jll .27
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                                        Jnr)rtsl)'tu,,n)N-l rlJ Redacted5359.Ln        .p),9u')]lt'ttup)] rN)n) .29
                                                                                   *"ou"t"o940z
                                               [yJs) ,D]f rulNf, n)n ,n)N'r rll                  .l.rt ,']'r)f 1t )Dy.l0
                                                                                             ,nrr)>fr9 fNl o))n.ll
                                                                     'Iyl Redactedlgg6
                                     f),!!) ,Du1ulNtr    n)n ,n)Nl                      .\.n
                                                [yfo) ,Dl]]D'tNf n)n ,n)N] lyJ RedactedsTqT .\.r ,DJ)"t 19.}).12
                          [y])u] )ln) t)f ryl5J ,Dl:tu]Nf n)n rn)N't -I!JRd"frd4009            .t.tt
                                                                                **""'*6102 .1.n r'lll{-'lf nu)D.i+
                                                                                                                 'l9p.3l
                                            [ys9: ,u'lf]p]Nf n)n n)Nl -t!,1                        ,D'tNlpv./
                                 [],vs) rp]f,'ru'lNf n)n ,n)N-l ly] .*"0"*142J5 )T)p ']lt'tl'9b ,t)l>rN :lT.35
                                      fnlss: ,v]:]u]Nf nl)n ,n)Nl n1!J Redact€dz918 .\.tl ,'l)^lu)y lnuN.36
                                           [yr!) ,Dlf)utN] n)n ,nrxr rlj[i!,frt"d?785 .\.n ,'])^11}! ])Dt)] .37
                ):nnn \:trnn tf,vJ o]f,lDlNn )nl] {n}D:n: D)t]'15) 8847.1.x,1bJ ))y )r::.18
                                                                                                          [lfXnnn
                                                 [!t!] .D1ftDlt{f n)it ,i-rrNlRedacted8581
                                                                               tyJRd""t"d5490 .t.n ,)N)1ty ilns).39
                                           []rl!) ,9'l:11'r1N:] it]n ,n)N-t 'l)tl          .1.n ,'luln))Du n)Dn).40
                                               [yl!) ,g]flu)i{l r-l)n ,nrN'l 'I}tlR"du""t{pq^rt.n
                                                                                        n"o""t"o9l5zr",)ll))uu l9l) '41
                                                      [),1$ ,D.l]'tDlNr n)il rn)NlT],1                 .i'.n ,))D )ll .42
                                         filyj!) ,p]]lptNt nr)n ,nrNl tt'lyl Redactedzg]o .l.r ,"t)tD il)v;lv./.41
                     [y!9) ,D]f ]t) lNn Jlnf n)n ri-l)N't 'tylRedactedgg6l f,r'n'tN Jlf'l-I 'gD ,-t):tr nurn tr))n .44
                                                              [irtlj ,n)Nl r)r] RedactedSl05 .l.'l ,r115131n'tDN).45
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                ntntyr] .PTv )lyvj ,D)915n-ln n9-rn ,o-tl-'l)y nD'ln D)hnn )n])f O)!')S! n]D)VJ] ,49
                                                                                                         fnl:ruln
                                   ln)TDtn nDlur"lJ .b))u,'t't) n))l)y ,u, 106 rplD - y])'tsr D)y)s) nltr)u,-).50
                                                                                  .o)y'tssn )u npx]l"r Jlt'tlyn.51




                lls                      Nf,)N
                )Nt!                     y:ln
                                                                                                  09.11.?003 : J)"lNxt
                                                                                                   f 570-03 i'l)f,ln)D




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